       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 1 of 135




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                             CIVIL ACTION FILE NO.:
                        Plaintiff,           1:18-CV-04070-MLB
vs.


E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS; an
individual,

                        Defendants.


PLAINTIFF'S RESPONSE TO DEFENDANT INTEGRITY SETTLEMENT
 SERVICES,LLC'S JOINDER IN E.S. REAL ESTATE CONSORTIUM,
  CORP.'S MOTION TO DISMISS AND MEMORANDUM IN SUPPORT

      Plaintiff, Lima One Capital Special Servicing, Inc. ("Plaintiff'), states as

follows for its Response to Integrity Settlement Services, LLC'S Joinder in E.S.

Real Estate Consortium, Corp.'s("ESREC") Motion to Dismiss and Memorandum

in Support:
        Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 2 of 135




                                INTRODUCTION

      Integrity Settlement Services, LLC ("Integrity") made two fraudulent

statements to Lima One Capital, LLC ("Lima One") to induce Lima One to wire

the funds that still have not been repaid by Defendants. For Integrity to join in a

Motion that describes this transaction as a "failed real estate transaction" is at best

misleading. It is clear from the pleadings alone that the Defendants were not

involved in the sale or purchase of any real estate, but merely used that as a scheme

to take money from Plaintiff. Integrity sent the e-mail assuring Lima One that it

was in possession of the funds necessary to re-pay the loan. Exhibit A. Integrity

also sent Lima One an insurance certificate stating it had errors and omission

insurance that covered this transaction. Exhibit B. It has now become clear that

Integrity made these statements to defraud Lima One of funds that to this day have

not been returned. This motion continues to delay discovery in this matter as

ESREC, Aneaka English and Integrity have no viable defenses.

      As discussed below, 28 U.S.C. § 1359 is inapplicable in this case as the

assignor is not a Georgia citizen itself, therefore, making collusion impossible.

Likewise, Plaintiff has alleged specific factual allegations as to Integrity's actions

that gave rise to this action. For all of these reasons, ESREC's motion, and




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Integrity's joinder in that Motion fail, and it must be denied with prejudice and

costs assessed.

                  ARGUMENT & CITATION TO AUTHORITY

I.    THIS COURT HAS SUBJECT MATTER JURISDICTION OVER
      THIS MATTER

      A.     Plaintiffs Complaint Alleges Diversity Jurisdiction

      Integrity relies on the assignment attached to Plaintiff's complaint to argue

the assignment is collusive and created diversity. However, Integrity fails to

adequately identify the citizenship of the assignor, Lima One. As this Court is

aware, the citizenship of a limited liability company is based on the citizenship of

each of its members, not the state in which it was folined. Rolling Greens MHP,

L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir 2004)

(stating "a limited liability company is a citizen of any state of which a member of

the company is a citizen"). Integrity does not explain how it has determined Lima

One is a Georgia citizen despite claiming its attack is factual, not facial.

      In actuality, Lima One is made up of eight members. Five of those members

are individuals, who are all citizens of South Carolina. Exhibit C, Affidavit of

Josh Woodward, CFO of Lima One. The remaining three members are two limited

liability companies and a limited partnership (hereinafter the "Magnetar Entities").

Id. Therefore, to the best of Plaintiff's knowledge, its assignor is not a Georgia
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citizen for purposes of this action. As the presumption of 28 U.S.C. § 1359 is only

applicable if the assignment is used "to manufacture diversity jurisdiction that

would not otherwise exist," it is wholly inapplicable in this case. Gilbert v. Wills,

834 F.2d 935,937(11th Cir. 1987).

      Lima One did not assign its interest to Plaintiff to manufacture diversity, but

to comply with its investor's requirements that their entities remain anonymous

and confidential.   Id.   As discussed in Kramer v. Carribean Mills, for an

assignment to be collusive under 28 U.S.C. § 1359, a party must show:

      1)    Assignor retains an interest in the assigned claims;
      2)    Assignee has no previous connection in the matter; AND
      3)    The Assignment is made for the sole purpose of accessing the federal
            courts.

394 U.S. 823, 827-28 (1969). As discussed above, and proven in the affidavit

attached as Exhibit C, Lima One did not assign the cause of action to access the

federal courts, but to protect its investors. Therefore, Integrity's attack on the

assignment fails under the Kramer test as there is a legitimate business purpose for

the assignment, and there is no evidence that the assignment created diversity,

which means this Court retains jurisdiction pursuant to 28 U.S.C. §1332.




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      B.       Plaintiff has Properly Pleaded a Federal Question, Providing this
               Court with Subject Matter Jurisdiction.

         As discussed below, the factual allegations included in the Complaint allege

a claim against all Defendants pursuant to 28 U.S.C. § 1331. Plaintiff has alleged

mail fraud, wire transfer fraud, and a continuing enterprise, again bolstered by the

FBI's current investigation into Aneaka English. Further, Integrity cannot deny it

is aware of this transaction. Integrity served as the "title company" closing the

alleged transaction. Integrity sent an e-mail confirming its possession of the funds

to repay Lima One directly inducing Lima One to wire the funds at issue in this

case. Exhibit A. Therefore, even were the Court to find the Complaint does not

state a claim under 28 U.S.C. § 1964(c) against ESREC (which it does), the claim

remains as to Integrity based on the allegations contained in the Complaint.

      For all of these reasons discussed above, the Court has subject matter

jurisdiction over this matter. There is diversity amongst the parties; the assignment

was not collusive; and the Complaint alleges the facts necessary to state a RICO

claim.




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II.     COUNTS I, II, AND IV OF THE COMPLAINT STATE CLAIMS FOR
        WHICH RELIEF MAY BE GRANTED.

         A.    Standard of Review

         A motion under Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of the

complaint, accepting as true all allegations contained therein. Hill v. White, 321

F.3d 1334, 1335 (11th Cir. 2003). While ESREC's Motion correctly states the

current pleading requirements as discussed in Bell Atlantic Corp. v. Twombly, 550

U.S. 544(2007) and Ashcroft v. Iqbal, 556 U.S. 662(2009), it is important to note

that the 1 lth Circuit has stated "the rule 'does not impose a probability requirement

at the pleading stage,' but instead simply calls for enough facts to raise a

reasonable expectation that discovery will reveal evidence of the necessary

element." Speaker v. U.S. Dept. of Health and Human Services Centers for

Disease Control and Prevention, 623 F.3d 1371 (11th Cir. 2010)(citations omitted).

         B.    The Complaint Alleges Facts Sufficient to Plead a RICO Claim
               Pursuant to 18 U.S.C.§ 1964(Count IV).

        In its Complaint, Plaintiff alleges the following specific facts:

        In December 2017, Aneaka English ("English") approached Lima One to
        discuss financing of a real estate sale. Exhibit D, pg. 4.
        English provided a Purchase Agreement dated October 15, 2017. Id.
      - English represented herself as an agent of the borrower. Id.
        English provided a HUD statement that purported to show where the Lima
        One's funds would be paid after the sale. Id.
      - English provided a second HUD statement that purported to show how Lima
        One would be repaid its funds. Id.
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   - English stated funds would be returned to Lima One on the date of closing.
     Id.
     Integrity Settlement Solutions ("Integrity") asserted it had an errors and
     omissions policy, which was false as no policy existed. Id. at pgs. 5-6.
   - Coleen Thomas("Thomas") sent an email to Lima One stating Integrity was
     in possession ofthe funds necessary to repay the loan. Id. at pg. 5.
     Lima One was not repaid pursuant to English's and Thomas'
     representations.

ESREC argues in its Motion that Plaintiff has not properly pleaded violations of 18

U.S.C. § 1341 and 1342 as required to qualify as a "pattern of racketeering

activity" pursuant to 18 U.S.C. § 1961(5).

        However, the Complaint alleges that as a result of these misrepresentations,

Lima One wired funds to the Defendants, which they retained. Exhibit D, pg. 5, ¶

22. This is a clear violation of 18 U.S.C. § 1343, which states in relevant part:

        Whoever, having devised or intending to devise any scheme or artifice
        to defraud, or for obtaining money or property by means of false or
        fraudulent pretenses, representations, or promises, transmits or causes
        to be transmitted by means of wire, radio, or television
        communication in interstate or foreign commerce, any writings, signs,
        signals, pictures, or sounds for the purpose of executing such scheme
        or artifice, shall be fined under this title or imprisoned not more than
        20 years, or both.

Accepting all factual allegations as true (as required in a FRCP 12(b)(6) motion),

English, Thomas, and the other Defendants working in concert created the scheme

that convinced Lima One to wire funds; therefore, they have violated 18 U.S.C. §

1343.

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        Similarly, Plaintiff stated that English mailed a check to Lima One on March

7, 2018 and misrepresented the check as payment in full of the amounts owed. Id.

at pgs. 5-6, TT 25-27. Therefore, English violated 18 U.S.C. § 1341, which states

in relevant part:

        Whoever, having devised or intending to devise any scheme or artifice
        to defraud, or for obtaining money or property by means of false or
        fraudulent pretenses, representations, or promises, or to sell, dispose
        of, loan, exchange, alter, give away, distribute, supply, or furnish or
        procure for unlawful use any counterfeit or spurious coin, obligation,
        security, or other article, or anything represented to be or intimated or
        held out to be such counterfeit or spurious article, for the purpose of
        executing such scheme or artifice or attempting so to do, places in any
        post office or authorized depository for mail matter, any matter or
        thing whatever to be sent or delivered by the Postal Service, or
        deposits or causes to be deposited any matter or thing whatever to be
        sent or delivered by any private or commercial interstate carrier, or
        takes or receives therefrom, any such matter or thing, or knowingly
        causes to be delivered by mail or such carrier according to the
        direction thereon, or at the place at which it is directed to be delivered
        by the person to whom it is addressed, any such matter or thing, shall
        be fined under this title or imprisoned not more than 20 years, or both.

While Integrity claims it cannot determine what violations of § 1341 and § 1343

Plaintiff is relying on as the basis of its RICO claim, a review of the factual

allegations in the Complaint, and the applicable statutes clearly demonstrates that

Plaintiff has pleaded a viable RICO action as against Integrity.'




1 If the Court were to find Plaintiffs claims are facially deficient (they are not), Plaintiff requests leave of the
Court pursuant to Fed. R. Civ. P. 15(a)(2) to file its first amended complaint to cure any deficiency.

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      Further, Integrity spent two weeks after the "closing" making assertions and

promises to Lima One that the funds were either en route through a wire transfer or

that it was attempting to determine where the funds were sent. Exhibit E. These

continued misrepresentations show a pattern of racketeering activity and a real

threat that the Defendants will continue to defraud others.

      C.     The Complaint Alleges Facts Sufficient to Plead a Fraudulent
             Misrepresentation Claim (Count I).

      In addition to the facts listed above in Section B, Plaintiff's Complaint also

includes   added     allegations   that   specifically   address   the   fraudulent

misrepresentation claim as to Thomas and Integrity Settlement Services. Plaintiff

specifically alleges that Thomas made misrepresentations to Lima One regarding

Integrity's possession of funds to repay Lima One and that Integrity had E & O

insurance to cover any loss related to the transaction. Only English and Thomas

know if these misrepresentations were made in their respective individual

capacities or as agents of ESREC and Integrity. It is impossible, and unnecessary,

for Plaintiff to determine this information without discovery.

      Therefore, the Complaint seeks relief from all involved as these statements

were clearly false, it was known to the speakers when they were made that they

were false, and indeed, Lima One relied on those statements to its detriment. The



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Complaint states a claim for fraudulent misrepresentation against Integrity based

on Thomas' statements and actions, and Integrity's motion must be denied. I

         D.      The Complaint Alleges Facts Sufficient to Plead a Conspiracy
                 to Commit Fraud Claim (Count II).

         Just as discussed above, the factual allegations contained in the Complaint

show that Plaintiff has properly pleaded a conspiracy to commit fraud claim.

English presented herself as a representative of the borrower who required funding;

Casita Simpson ("Simpson') represented herself as an agent of the borrower who

was going to execute the closing documents; and Thomas served as the title

company representative who received and distributed the funds. Exhibit D, pg. 9;

r 52-54. These actions show the Defendants had a plan and they executed that

plan to steal funds from Lima One as required by Georgia law. Howard v. Sellers

& Warren, P.C., et al., 309 Ga. App. 302(2011). Therefore, Plaintiff's Conspiracy

to Commit Fraud claim states a claim for which relief may be granted as against

ESREC,English and Integrity, and the Motion must be dismissed.

                                              CONCLUSION

        This motion appears to be nothing more than another Fabian delay tactic by

the Defendants to delay the inevitable judgment against it.                                 Despite English


 If the Court were to find Plaintiffs claims are facially deficient (they are not), Plaintiff requests leave of the
Court pursuant to Fed. R. Civ. P. 15(a)(2) to file its first amended complaint to cure any deficiency.

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admitting numerous times that the money is owed and has not been repaid, and

having made partial payments, ESREC, English and Integrity now claim they

cannot defend this action.

        Plaintiff has properly pleaded its claims against all Defendants, and this

Court has subject matter jurisdiction to resolve the federal question (i.e. the RICO

claim) as well as diversity jurisdiction as all parties are citizens of different states

and the amount in controversy exceeds $75,000.00.1

                                                     Respectfully submitted,

                                                          /s/Emily M. Coyle
                                                     Emily M. Coyle, MI Bar No. P74123
                                                     (ADMITTED PRO HAC VICE)
                                                     ecoyle@plunkettcooney.com
                                                     PLUNKETT COONEY,P.C.
                                                     38505 Woodward Avenue, Suite 100
                                                     Bloomfield Hills, MI 48304
                                                     Telephone: (248) 594-8613
                                                     Facsimile: (248)901-4040
                                                     Ronald G. Polly, Jr.
                                                     Georgia Bar No. 583264
                                                     rpolly0hptylaw.com
                                                     303 Peachtree Street, NE
                                                     Suite 4000
                                                     Atlanta, Georgia 30308
                                                     Telephone: (404)614-7400
                                                     Facsimile: (404)614-7500
                                                     Attorneysfor Plaintiff




1 If the Court were to find Plaintiffs claims are facially deficient (they are not), Plaintiff requests leave of the
Court pursuant to Fed. R. Civ. P. 1S(a)(2) to file its first amended complaint to cure any deficiency.

                                                        11
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                                           Proof of Service

                 The undersigned certifies that on February 7, 2019, a copy of
                 the foregoing document was served upon the attorney(s) of
                 record in this matter at their stated business address as
                 disclosed by the records herein via:

                 .1.1.1.
                           Hand delivery           Overnight mail
                                                   1111•1110•1111



                 .......
                           U.S. Mail               Facsimile
                           Email                  7Electronic Filing System
                 I declare under the penalty of perjury that the foregoing
                 statement is true to the best of my information, knowledge and
                 belief.


                                           /s/ Doreen Stanard
                                           Doreen Stanard




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                        EXHIBIT A
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Ross Coll

From:                             Client Services <services@integritysettlementservices.net>
Sent:                             Thursday, January 4, 2018 2:40 PM
To:                               Ross Coll
Subject:                          RE: [External] Re: Transactional Funding - 1564 Park Rd SE


Ross,

Funds have been received for this file. Please send me confirmation once your wire goes out.

Amy Rice
Client Services
File Management Department
Office: 813-606-5058
Fax: 877-471-2805
Integrity Settlement Services
Services@integirtysettlementservices.net

CONFIDENTIALITY NOTICE:
The contents of this email message and any attachments are intended solely for the addressee(s) and may contain
confidential and/or privileged information and may be legally protected from disclosure. If you are not the intended
recipient of this message or their agent, or if this message has been addressed to you in error, please immediately alert
the sender by reply email and then delete this message and any attachments. If you are not the intended recipient, you
are hereby notified that any use, dissemination, copying, or storage of this message or its attachments is strictly
prohibited.

On Thu, January 4, 2018 2:06 pm, Ross Coll wrote:
> Thank you Amy.




> Best,


> Ross Coll
> Operations Analyst


> P: 864-672-9069
> F: 864-289-7520
> E-mail: rcoll@limaonecapital.com
> www.LimaOneCapital.com

>     Original Message
> From: Client Services
> [mailto:services@integritysettlementservices.net]
> Sent: Thursday, January 4, 2018 1:42 PM
> To: Ross Coll <rcoll@limaonecapital.com>
> Subject: RE:[External] Re: Transactional Funding - 1564 Park Rd SE

                                                             1
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> Their funds are being wired into to escrow today. I will let you know
> when we receive them which should be within the hour. Please see the
> HUD with the attached corrections.

> Amy Rice
> Client Services
> File Management Department
> Office: 813-606-5058
> Fax: 877-471-2805
> Integrity Settlement Services
> Services@integirtysettlementservices.net


> CONFIDENTIALITY NOTICE:
> The contents of this email message and any attachments are intended
> solely for the addressee(s) and may contain confidential and/or
> privileged information and may be legally protected from disclosure.
> If you are not the intended recipient of this message or their agent,
> or if this message has been addressed to you in error, please
> immediately alert the sender by reply email and then delete this
> message and any attachments. If you are not the intended recipient,
> you are hereby notified that any use, dissemination, copying, or
> storage of this message or its attachments is strictly prohibited.

> On Thu, January 4, 2018 12:56 pm, Ross Coll wrote:

» Amy,




» Thank you. On the B-C HUD the pay-off to Lima One Capital should be
» in the amount of $255,774.57.

   At this time have you received the end buyers funds?




   As a reminder, we will not fund unless we have verification that you
   have received the end buyers funds. We also require that we receive
   our wire back the same business day. Please confirm.

   I will be forwarding over our wire instructions once we have
   confirmation.


   Best,




   Ross Coll

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                        EXHIBIT B
                               Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 17 of 135
  -  10                                                                                                                                                              DATE(MMIDDNYYY)
Accwc•                                                   CERTIFICATE OF LIABILITY INSURANCE                                                                             4/11/2017
    11......-----
 THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
 CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
 BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
 REPRESENTATIVE OR PRODUCER,AND THE CERTIFICATE HOLDER.
 IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
 If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
 this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                                                         "INTACT    Robert Henderson
American Insurance Professionals                                                                  PHONE                                               FAX
                                                                                                       No EMIL_                              (A/C,, Nol:
4545 E Shea Blvd Suite 130                                                                                    Rhenderson@hendersonagency.com
                                                                                                 JALM,oalEss:
Phoenix, AZ 85028-3061
                                                                                                                  INSURER(S)AFFORDING COVERAGE                                  NAIC #

                                                                                                  INSURER A:
INSURED                                                                                           INSURER B:
Integrity Settlemet Services
                                                                                                  INSURER C:
401 E Jackson St Suite 3300
                                                                                                  INSURER D:
Tampa, FL 33602
                                                                                                  INSURER E:

                                                                                                  INSURER F:
COVERAGES                                                CERTIFICATE NUMBER: 10253361                                             REVISION NUMBER: See below
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
 INDICATED. NOTWITHSTANDING ANY REQUIREMENT. TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
 CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS.
 EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR
 '                                                             ADDLISUBR                                   POLICY EFF POLICY EXP
LTR                     TYPE OF INSURANCE                      INSD I WVD        POLICY NUMBER            (MMIDONYYYUMMIDD/YYYYL                            LIMITS
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                 I             r----1                                                                                              —DAMAGE-TO RENTE-D
                    1
                   CLAIMS-MADE '
                               ,    'I OCCUR                                                                                        PREMISES(Ea uccurrencg)     I$
                                                                                                                                    MED EXP (Any one person)   1

                                                                                                                                   PERSONAL & ADV INJURY

       GENT AGGREGATE LIMIT APPLIES
      ___.,                         _ PER:                                                                                         GENERAL AGGREGATE
                   F-----'PO
                          JER   1---
          I POLICY L .._     CT       LOC  L                                                                                       PRODUCTS - COMP/OP AGG           S
         -I
          I OTHER:
       AUTOMOBILE LIABILITY                                                                                                        COMBINED SINGLE LIMIT        I
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           I ANY AUTO                                                                                                               BODILY INJURY (Per person) i $
                                                                                                                                                                I
            t OWNED                    I   SCHEDULED                                                                                BODILY INJURY (Per accident)I S
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            I HIRED                    t   NON-OWNED                                                                               PROPERTY DAMAGE                S
            I AUTOS ONLY               i   AUTOS ONLY                                                                              (Per accident)
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                                  '            I
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           I DED         I RETENTIONS                                                                                                                         I$
      WORKERS COMPENSATION                                                                                                              PER              OTH. I
      AND EMPLOYERS'LIABILITY                                                                                                           STATUTE          ER
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      ANYPROPRIETOR/PARTNER/EXECUTIVE                                                                                               E.L. EACH ACCIDENT          I$
      OF FICERNEMBEREXCLUDED?                                  NIA
      (Mandatory in NH)                                                                                                             E.L. DISEASE - EA EMPLOYEE S
      11 yes, describe under
      DESCRIPTION OF OPERATIONS below                                                                                               EL. DISEASE - POLICY LIMIT 1 $
A       Professional                                                        LHR567103                     4/11/2017   4/11/2018    $1,500,000 Each Claim $2,000,000 Aggregate




DESCRIPTION OF OPERATIONS l LOCATIONS l VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
 Evidence of Coverage




CERTIFICATE HOLDER                                                                                CANCELLATION

 Integrity Settlement Services                                                                      SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                    THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
 401 E Jackson St Suite 3300                                                                        ACCORDANCE WITH THE POLICY PROVISIONS.
 Tampa FL 33602
                                                                                                  AUTHORIZED REPRESENTATIVE




                                  The ACORD name and logo are registered marks of ACORD                         ©1988-2015 ACORD CORPORATION. All rights reserved.
ACORD 25(2016/03)
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                        EXHIBIT C
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                                     CIVIL ACTION FILE NO.:
                              Plaintiff,             1:18-CV-04070-MLB
vs.


E.S. REAL ESTATE CONSORTIUM,
INC.,a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS;an
individual,

                               Defendants.


      AFFIDAVIT OF 10SUI WOODWARD INSUPPORT OF PLAINTIFF'S RESPONSE

STATE OF GEORGIA
                                      )ss
COUNTY OF

       Josh Woodward, being first duly sworn,deposes and states:

       1.        I am the Chief Financial Officer of Lima One Capital, LLC.

       2         I am involved in the day to day business of Lima One Capital, LLC.

       3.        There are five individual persons who have a membership interest in Lima

 One Capital, LLC: John Warren, John Thompson, Jeff Tennyson, Josh Woodward, and

 Rankin Blair.
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        4.       A11 the individuals listed in paragraph 3 reside in South Carolina, and our

citizens of South Carolina.

        5.       The remaining members of Lima One Capital, LLC are two limited liability

companies and a limited partnership.

        6.       Due to the confidentiality concerns of these company members,this cause of

action was assigned to a servicing company for litigation.

    7. of $35.50.

                                                                       ear.
                          fsa                                    oodward
                 November6• 2018                          Chief Financial Officer
                                                          Lime One Capital, LLC

Subscribed and sworn to before me this
     day of November, 2018.


                               Notary Public

My commission expires: 1/II-              (.1




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                        EXHIBIT D
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            Case 1:18-cv-04070-MLB Document 1 Filed 08/28/18 Page 1 of 13




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                                    CIVIL ACTION FILE
                               Plaintiff,
vs.                                                 NO.:

E.S. REAL ESTATE CONSORTIUM,
CORP.,a Georgia corporation;
CONSORTIUM TITLE,LLC,a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES,LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON,an
individual; and COLEEN THOMAS;an
individual,

                               Defendants.


                                        COMPLAINT

         Plaintiff, Lima One Capital Special Servicing, Inc. ("Plaintiff'), states as

follows for its Complaint:

         1.       Plaintiff is a Delaware corporation with its principal place of business

located in Greenville, South Carolina.           Therefore, for purposes of diversity,

Plaintiff is a citizen of Delaware and South Carolina.




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         2.      E.S. Real Estate Consortium, Corp.("E.S. Real Estate") is a Georgia

corporation that has its principal place of business at 5317 Peachtree Boulevard,

Suite 316, Chamblee, Georgia 30341. Therefore, for purposes of diversity, E.S.

Real Estate is a citizen of Georgia.

         3.       Coleen Thomas ("Thomas") is an individual who upon information

and belief is domiciled in Virginia. Therefore, for purposes of diversity, Thomas is

a citizen of Virginia.

        4.        Consortium Title, LLC ("Consortium") is a Virginia limited liability

company, which upon information and belief has one member, Coleen Thomas.

Therefore, for purposes of diversity, Consortium is a citizen of Virginia as Thomas

is domiciled there.

         5.      Integrity Settlement Services, LLC ("Integrity") is a Florida limited

liability company, which, upon information and belief, has one member,

Consortium, which has one member, Thomas, as discussed above. Therefore, for

purposes of diversity, Integrity is a citizen of Virginia.

        6.       Aneaka English ("English") is an individual who upon information

and belief is domiciled in Georgia. Therefore, for purposes of diversity, English is

a citizen of Georgia.




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        7.       Casita Simpson ("Simpson") is an individual who upon information

and belief is domiciled in Florida. Therefore, for purposes of diversity, Simpson is

a citizen of Florida.

                            JURISDICTION AND VENUE

        8.       Jurisdiction over this matter properly rests within this Honorable

Court pursuant to 28 UCS §1331 and/or §1332. The complaint includes a federal

question, specifically Plaintiffs claim that the Defendants violated the Racketeer

Influenced and Corrupt Organizations Act("RICO"), as described below. Further,

the amount in controversy is in excess of Seventy-Five Thousand ($75,000.00)

Dollars, exclusive of interest and costs and none of the Defendants is a citizen of

Delaware or South Carolina while Plaintiff is a citizen of Delaware and South

Carolina, which means there is complete diversity amongst the parties.

        9.       Venue is proper in this Honorable Court pursuant to 28 USC §1391(a)

and (b)(3).

                             GENERAL ALLEGATIONS

         10.     Lima One Capital, LLC ("Lima One") is in the business of lending

funds for short term real estate transactions, among other businesses.




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         11.     In December 2017, English, on behalf of E.S. Real Estate, requested

funding related to the closing of real property commonly known as 1564 Park

Road SE, Atlanta, GA 30315 (the "Property).

         12.     English, on her own or as an agent of E.S. Real Estate, provided Lima

One with a Purchase Sale Agreement dated October 15, 2017 between Ruth

Fermino and Wholesale Listings Co Ltd (the "Borrower"). Exhibit A.

         13.     English stated that she represented the Borrower.

         14.     English, on her own or as an agent of E.S. Real Estate, sent Lima One

a HUD Statement allegedly showing how funds would be disbursed after the

Borrower purchased the Property. Exhibit B.

         15.     English told Lima One that the Borrower intended to immediately sell

the Property to ESRG Georgia Group I ("ESRG") on the same date the Borrower

purchased it.

         16.     English, on her own or as an agent of E.S. Real Estate, sent Lima One

a HUD Statement allegedly showing the Borrower selling the Property to ESRG

and repaying Lima One the total amount it was owed of $255,774.57. Exhibit C.

         17.     The Borrower chose Integrity as its title company to close the real

estate transactions.




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        18.      Integrity provided a Certificate of Liability Insurance regarding its

errors and omissions policy prior to closing.

        19.      Lima One does not close these types of transactions or wire funds to

the title company until it receives confirmation that the second purchaser's funds

are received by the title company and are being held in escrow.

        20.      Thomas sent an e-mail to Lima One on January 4, 2018 confirming

Integrity was in receipt of the funds from ESRG to purchase the Property from the

Borrower.

        21.      On January 8, 2018,Lima One wired $251,375.50 to Integrity through

a JPMorgan Chase account to fund the Borrower's purchase ofthe Property.

        22.      Pursuant to its agreement with English and E.S. Real Estate, Lima

One was to receive $255,774.57 within 24 hours ofthe initial wire transfer.

        23.      English refused to pay Lima One what it was owed under the

agreement, instead feigning ignorance.

        24.      Lima One attempted to file a claim against Integrity's alleged errors

and omissions insurance, but no policy exists.

        25.      On or about March 7, 2018, English mailed a check to Lima One

through the United States Postal Service.




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        26.      English held the check out to be payment in full of the amounts owed

to Lima One.

        27.      The check was returned to Lima One's bank due to insufficient funds

in the drawer's account.

        28.      On March 21, 2018, English wired the sum of $51,370.00 to Lima

One claiming once she received confirmation of those funds being received that

she would pay the remainder through a second wire transaction.

        29.      On May 7, 2018, English wired the sum of $50,000.00 to Lima One as

partial payment on the amount outstanding.

        30.      Lima One has not received the balance of the outstanding obligation.

        31.      Lima One assigned its rights to any cause of action arising from this

transaction to Plaintiff in an Assignment dated August 21, 2018 and attached

hereto as Exhibit D.

                 COUNT I — FRAUDULENT MISREPRESENTATION

        32.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        33.      As    described    above,    English    made     numerous     fraudulent

misrepresentations to Lima One.

        34.      English claimed that she represented the Borrower.


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        35.      English claimed the Borrower was going to purchase the Property and

then immediately sell it to ESRG.

        36.      English claimed that Simpson would execute documents on behalf of

the Borrower to close the transaction.

        37.      English's claims were false because the Borrower was a sham

company set up by Simpson.

        38.      Upon information and belief, Simpson is a paralegal employed by

English.

        39.       English knew that her representations were false at the time they were

made.

        40.      English made these misrepresentations intending that Lima One rely

on them.

        41.      Lima One reasonably relied on these misrepresentations.

        42.      In reliance upon the misrepresentations, Lima One has suffered

damages of not less than $152,404.57 plus attorney fees and costs.

        43.      Thomas falsely claimed that Integrity was in possession of the ESRG

funds necessary to repay Lima One.

        44.      Thomas falsely claimed that Integrity had insurance to cover such

losses.


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         45.       Thomas knew when she made the claims that they were false.

         46.       Thomas made the misrepresentations intending that Lima One would

rely on them.

         47.       Lima One did in fact rely on the misrepresentations when it wired the

funds to Integrity.

         48.       Due to Thomas' misrepresentations, Lima One has suffered damages

of not less than $152,404.57 plus attorney fees and costs.

         WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.

                       COUNT II — CONSPIRACY TO COMMIT FRAUD

         49.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

         50.       As described above, the Defendants have perpetrated a fraud against

Lima One.




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        51.      The Defendants' individual actions, working in concert, created a plan

to defraud Lima One.

        52.      English represented to Lima One that she had a purchaser for the

Property who would then immediately sell the property to a third party.

        53.      Simpson represented herself as the Borrower's authorized agent who

was going to purchase the Property.

        54.      Thomas served as the conduit to obtain the funds by misrepresenting

to Lima One that Integrity was in possession of ESRG's funds to purchase the

Property and repay Lima One.

        55.      Through these actions and those previously discussed above, the

Defendants acted in concert to defraud Lima One.

        56.      The Defendants stole $255,774.57 from Lima One through the

conspiracy.

         WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.


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                        COUNT III — UNJUST ENRICHMENT

        57.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        58.      As described above, Lima One wired $251,375.50 to Integrity in

relation to the fraudulent closing.

        59.      Lima One expected payment in return of $255,774.57 based on the

parties' agreement.

        60.      E.S. Real Estate, Consortium, Integrity, English, Simpson and

Thomas have received an unjust benefit at the expense of Lima One based on their

conduct.

        61.      It would be unjust for the Defendants to retain the benefit.

         WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.




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            COUNT IV — CIVIL RICO PURSUANT TO 18 U.S.C.§ 1964

         62.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

         63.      Defendants by virtue of their agency relationships with each other

formed an enterprise (the "Enterprise").

         64.      Through the Enterprise, Defendants engaged in racketeering activity

to wit wire fraud in violation of 18 U.S.C. § 1343 and mail fraud in violation of 18

U.S.C. § 1341.

         65.      Violations of 18 U.S.C. § 1341 and 1343 are each a "racketeering

activity' as that term is defined in 18 U.S.C. § 1961(1).

         66.      The Defendants received an economic benefit through the Enterprise.

         67.      The conduct alleged in this complaint constitutes a "pattern of

racketeering activity," as that term is defined in 18 U.S.C. § 1961(5) as Lima One

has alleged two acts that constitute racketeering activity, specifically violations of

18 U.S.C. § 1341 and § 1343, that occurred after the enactment of the RICO Act

and these activities occurred within the last 10 years.

         68.      English has committed mail and/or wire fraud on at least two previous

occasions against two other victims, and there is a serious threat that she will

continue her criminal conduct beyond the instances in this complaint.


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        69.      Simpson and Thomas aided and abetted English in engaging in

racketeering behavior by setting up sham companies, drafting fake closing

documents for the sale of the Property, and misrepresenting that they were ready,

willing and able to fund the sale as agreed.

        70.      The Enterprise will continue to operate and defraud consumers and

businesses alike through an ongoing Ponzi scheme if not stopped by the Court.

        71.      As a direct and proximate cause of Defendants' racketeering

activities, Plaintiff has suffered economic damages and it requests treble damages

and reasonable attorney fees pursuant to 18 U.S.C. § 1964(c).

         WHEREFORE, Lima One Capital Special Servicing, Inc. respectfully

requests that this Honorable Court enter a judgment in its favor and against

Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC, Integrity

Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita Simpson,

jointly and severally, in the amount of $463,213.71 plus attorney fees and costs

that continue to accrue.

        Respectfully submitted this 28th day of August, 2018.



                                [Intentionally left blank]

                             [Signature onfollowing page]


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                                             HAWKINS PARNELL
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           Exhibit "A"
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                         CONTRACT FOR SALE OF REAL ESTATE




This is a CONTRACT between Ruth Fermino (hereinafter Seller or Sellers) and Wholesale
Listings Co Ltd.(hereinafter Buyer or Buyers), dated this 15th day of October 2017.

Be it known to all that in consideration of the mutual covenants and agreements contained in this
Contract as written and no other documents, the Seller agrees to sell to Buyer(s) and Buyer(s)
agree to purchase from the Seller(s) all the lands and premises situated in Dekalb County, State of
Georgia, described in the following section:

                              1564 Park Rd SE Atlanta, GA 30315

for the sum of$250,500.00 Two Hundred Fifty Thousand Five Hundred 00/100 Dollars, known
as the Purchase Price.

Towards that Purchase Price, $3,000.00, Three Thousand 00/100 Dollars has paid on the
execution of this Contract and the receipt of which is hereby acknowledged by Sellers, and the
remained of the Purchase Price is to be paid to the order of the seller at the times and in the
amounts as described in the following section:

Remainder of Purchase Price payable as follows: Cash at Closing
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Buyer(s)'s Right to Possession

The Buyer(s)shall be entitled to possession ofthe lands on October 31, 2017, and may retain such
possession so long as Buyer(s) is not in default under the terms of this Contract.

Buyer(s) Duty to prevent waste, prevent encumbrances.

Buyer(s) agree that at all times Buyer(s) will keep the premises and buildings(now or hereafter
erected) n good condition and repair and will not permit any waste or strip of the land or premises,
that the Buyer will keep the premises free from construction and all other liens and same the
Seller(s) harmless from such liens and reimburse Seller(s) all costa and attorneys's fees incurred by
Seller(s) in defending against such liens; that Buyer(s) will pay all taxes hereafter levied against the
property, as well as all water service rents, public charges and municipal liens which hereafter
lawfully may be imposed upon the premises,all promptly before the same or any party thereof
become past due and delinquent.


Buyer(s) Duty to provide insurance.

At Buyer(s)'s expense, Buyer(s) will insure and keep insured all buildings now or hereafter erected
on the premises against loss or damage by fire in an amount of not less than $            in a company
or companies satisfactory to the Seller(s), specifically naming seller(s) as an additional insured,
with losses payable first to the Seller(s) and then to the Buyer(s) as their respective interest may
appear and all policies ofinsurance shall be delivered to the Seiler(s) as soon as insured.

Seller(s)'s rights to cure defects without waiver of breach of contract.

Ifthe Buyer(s)fail to pay any liens, costs, water rents, taxes or charges, the Seller(s) may do so
and any payment so made shall be added to and become part ofthe debt secured by the Contract
and shall bear interest at the above stated rate per annum, without waiver, however, on any right
arising to the Seller(s)for Buyer(s)'s breach on contract.

Seller(s)'s Obligation to Provide Marketable Title
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   The Seller(s) agrees to furnish within 15 days
                                                   ofthe date ofthe Contract, at Seller(s)'s expense
   title insurance policies insuring in an amount                                                     a
                                                  equal to the purchase price, marketable title in and
   to the promises in the Seller(s)on or subsequent
                                                      to the date ofthis Contract and further,save
   and except the usual printed exceptions and the
                                                     building or other restrictions and easements now
  ofrecord,ifany.Seller(s)also agrees that when
                                                     the purchase price is fully paid and upon request
  and upon surrender to this Contract, Seller(s) will
                                                       deliver a good and sufficient deed conveying
  the premises in fee simple until the Buyer(s),Buyer(s)'s
                                                             heirs, assigns, free and clear of
  encumbrances as ofthe date herein identified and fee and
                                                               clear ofall encumbrances that date
  placed, permitted or arising by,through or under the
                                                          Sellers(s), except the easements,
  restrictions and the taxes, municipal liens, water rents and
                                                               public charges as assumed by the
  Buyer(s)and further excepting all liens and encumbra
                                                          nces created by the Buyer(s) or Buyer(s)'s
  assigns.

  Time is ofthe essence

  It is further understood and agreed between the
                                                     parties that time is ofthe essence
 in this Contact,and should the Buyer(s) fail to
                                                  make the payments as required, or any ofthem,
 punctually within 20 days ofthe time limited there
                                                      for, or failure to keep any of its obligations
 under this Contract, then the Seller(s) shall have the
                                                        following rights and options:
 (1)to declare thA contract cancelled for default and
                                                      thus null and void and to declare the
 Buyer(s)'s rights forfeited and the debt extinguished,
                                                        and to retain sums previously paid under this
 Contract,subjectto the Seller(s)complying with all
                                                      applicable law pertaining to the exercise of
 this remedy,includingORS 93.905,et seq., or succe
                                                       ssor statutes;
(2)to declare the whole unpaid principal balance
                                                 ofthe purchase price with the interest thereon
once due and payable; and/or                                                                    at

(3)to foreclose this Contract by suit in equity.

 In,any ofsuch case, all rights and interest created or
                                                         then existing in favor ofthe Buyer(sa) as
 against the Sellet(s) hall utterlY-cease and the right to posse
                                                                 ssion ofthe premises described above
 and all other rightsacquired by the Buyer(s)under
                                                        this Contract revertto an revest in the Seller(s)
 without an act ofre-entry, or any otheract ofthe-s
                                                       eller to be performed and without any right of
the BUYer(s)to return,reclaim or seek:ompensa
                                                    tion ofmonies paid on the account ofthe
 purchase un the Property.as absolutely,firlly and
                                                     completely as ifthis contract and such payment
had never been made,and in case ofsuch defati                                                          s
                                                   lt allPayment -previously made on this contract are
to be retained by and belong to the seller as the
                                                    agreed andreasonable rent ofthe premises up to
the time ofsuch default and the Seller(s)in case
                                                    od such default;shall have right immediately,or
at anytimer;to enter upon the land,
                                                 withoutprocess oflaw, and take immediate
possessioa thereof,together with all the
                                                            and appurtenances thereto on thereto
belonging.

BuYer(s).finther agrees thatiSellei(s)'s`failure to at
                                                         any time require performance by Buyer(s)of
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   any provision shall in no way affect the
                                            Seiler(s)'s right to enforce the same,nor shall
   by the Seller(s) ofany breach ofany prov                                                 any waiver
                                             ision bye a waiver or any succeeding breach
   provision, or a waiver ofthe provision itsel                                             ofany such
                                                f.
   Seller(s), Seller(s)'s agents, and the holder
                                                 ofany existing encumbrance to which the land
   premises are subject may enter upon the lands                                               s and
                                                     and premises at reasonable times, upon reas
   prior notice, for the purpose in inspecting the                                               onable
                                                    property.
  In case suit or action is instituted to foreclos
                                                   e this Contract or t enforce any provision ther
  losing party in any suit or action shall pay                                                       eof, the
                                                the reasonable attomey's fees to be fixed by
  court in favor ofthe prevailing party, and if                                                the  trial
                                                  any appeal is take from the decision of the
  such further sum as may be fixed by the                                                       trial court,
                                              appellate court as the prevailing party's reas
  attorney's fees and costs in the appellate                                                 onable
                                              court.
  In construing this CONTRACT, where the
                                             context requires, the singular includes the
  grammatical changes shall be made so that                                              plural,
                                            the deed shall apply equally to corporations
  individuals,and handwritten or typed chan                                                and to
                                            ges control the printed text.

 This Contract shall bind and inure to the
                                           benefit of, as the circumstances, may require,
 the immediate parties hereto, but also their                                               not only
                                              respective heirs, assigns, executors, admi
 personal representatives and successors in                                              nistrators,
                                             interest as well

 In witness whereof,the Buyer(s)and Seller(s)
                                                 have executed this instrument in duplicate
 day of October, year 2017,and ifany ofthe                                                  this 5th
                                              undersigned ins a corporation, it has caused
 to be signed by an officer or other person duly                                            its name
                                                 authorized to do so by action ofthe board
 directors.                                                                                  of


                                                         Date:

                                                         Date:

                                                         Date:
Seller.
                                                         Date:
Contingency release clause
If you-snotspecified a deadline for your
                                             contingencies,such as 5 or 10 days for a profe
inspection,or 30 days for mortgage appr                                                      ssional
                                         oval, you can expect a well-advised home selle
time limit on your contingencies. Or;if                                                  r to set a
                                        you make your home purchase contract cont
sale ofyour current residence(which                                                  ingent on the
                                     feWhome sellers will accept),expect the selle
counteroffer,giving you 24 or 48 hours'after                                        r to
                                             an acceptable second purchase offer is recei
a second buyer to remove your continge                                                     ved from
                                        ncy clause for sale of your old home. This is
and fair to both buyer and seller.                                                    reasonable
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 An"AsIs. clause
 Some home sellers insist on selling their homes"as is." That means
                                                                       the seller and realty agent
 make no representations or warranties and won't pay for any
                                                               repairs. However,the seller and
 realty agents must still disclose any known home defects to
                                                              the buyer. Avoid agreeing to an "as
 is. clause if you want the seller to pay for repairs ofknown seriou s defects.

 When describing the purchase terms,don't specify "All cash to
                                                                seller" if you require a new
 mortgage to provide that cash. Be sure your offer contains a
                                                              clause making your offer contingent
 on approval ofthe mortgage. Even if you got preapproved for
                                                                a mortgage, the lender can avoid
 making the loan by low-balling the appraisal.

 The mortgage you want to obtain should be specified with
                                                               detail, such as a new 30-year fixed
 interest rate mortgage dal least $100,000 with interest not
                                                                exceeding 8 percent, a loan fee of not
 more than 2 percent, and a monthly payment not exceeding $733.7
                                                                        6. If you want the seller to help
 finance the sale, by carrying back either a first or second mortga
                                                                    ge, here is where you specify the
 terms you want.

 Personal property
 Ifyou want any personal property included in the home sale,
                                                                such as the kitchen appliances, be
 sure to specifically itemize them in your purchase offer. For examp
                                                                     le,specify the "General Electric
 side-by-side refrigerator with electronic monitor now on the
                                                                premises." This stops the seller from
 substituting inferior replacement personal property at the last minute
                                                                        .
Time for acceptance of your purchase offer
Your purchase offer should contain a short time for the seller'
                                                                s acceptance. Twenty-four hours is
usually sufficient unless the seller is out oftown. Don't make your
                                                                     offer valid for a long time
period because then it will be "shopped" by the realty agent to
                                                                 see ifa better offer from another
buyer can be obtained.

     professional inspection
 The buyer should pay for the professional inspection because it's
                                                                   for the buyer's benefit.
 Accompany the professitmal inspector. When a defect discovered
                                                                    is serious,such as a cracked
chinmey,expect the seller to pay forthe repair. Ifthe seller refuse
                                                                    s to pay for major necessary
repairs, disapprove the report and get your good faith deposit refund
                                                                        ed.
'Seller's disclosure diatom defects,
 Many statei, led by`California and Maine,now require home sellers
                                                                       and their realty agents to
disclose in writing any known defects in the residence. Ifyour
                                                                state requires seller disclosure of
delitcts, your purchase offer should be contingent upon your
                                                              approval ofthe seller's disclosure.
•Liquidated dainages clause
This clause sPedifitz maximum dantagas a defaulting buyer
                                                            must pay to the home seller if the
buyer, doesn't complete the purchase as agreed. Some state laws set
                                                                      maximum liquidated damages.
Asa buyer, you may want to agree to liquidated damages so
                                                              you can't be held liable for more than
the specified stun if youdefault.
•Arbitrationofdisputesclause
 Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 41 of 135
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      printed real estate purchase contracts now contain an optional clause whereby the buyer and
      agree to arbitrate disputes. Misguided real estate agents, blindly following rt=mmendatioris
Iron their real eqate trade groups, often suggest signing the arbitration clause. t strongly
disagree. Too many uncontrollable things can go wrong with arbitration ofdisputes. Iselye
recommendation is don't agree to arbitration. If a dispute arises later, at that time you can decide
if you prefer to go to arbitration or mediation rather than become involved in a lawsuit.
•An all-inclusive weasel clause
 Although the professional inspection contingency clause is sufficient, you might want to also
 include an all-inclusive weasel clause such as ''This purchase offer is contingent upon buyer's
attorney satisfactory inspection and approval of the purchase contract within 10 business days.
 This gives you a "free look" while your attorney, CPA or other trusted business advisor review's
 the agreement.

Article 3. Purchaser's tviortga.ge Contingencs,



      Appiication. If an amount is specified at item VIII, Purchaser wa.iil(promptly after this
(.:ontracl is signed) use best efforts to obtain a first mortgage on the Premises in that amount and
on the terms specified in section D-3.



      Alternate Financing. IfPurchaser is unable to obtain such commitment and gives notice
 thereof to Seller by the time specified in or determined pursuant to section D-3-j, Seller may
 within 21 days after the effective date of such notice by Purchaser (a) procure for Purchaser al
 commitment from an institutional lender for a first mortgage loan meeting such terms or(b)
 accept a Purchase Money Mortgage on such terms. If Seller does so within such additional 21-Lia)
 time period, item VIII and section D-3 will no longer apply; otherwise this Contract will terminate
 and section 1 7.03 will apply.

 3.03 A lender that makes any such loan is referred to herein as "Purchaser's Lender."



  Article 4. Title Insurance and Condition of Title



  4.01 Title Commitment. Promptly after the Execution Date Purchaser will apply (directly or
  through Purchaser's Lender) for issuance by Title Insurer ofa commitment for an owner's titic
  insurance policy.

       coirimitment is(i) to be in the amount ofthe Purchase Price,(ii) to include a zoni ng
  endorsement that insures Purchaser that the existing structures on, and the present use of. the
Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 42 of 135
   Case 1:18-cv-04070-MLB Documen




  Real Estate do not violate any zoning laws, regulations and ordinances,
                                                                           (iii) to include extended
  coverage over general exceptions, and (iv) to cover title to the Real
                                                                        Estate on or after the Date of
  Execution.

  b.On receipt of the commitment Purchaser will promptly cause a
                                                                       copy ofthe commitment to be
  delivered to Sellers attorney. Seller will use bes1 efforts to cause the commi
                                                                                  tment to conform to
  the condition of title specified in Section 4.02 by the earlier of(i)
                                                                        63 days after Seller receives a
  copy of the commitment and (ii) the expiration date of any written
                                                                         loan commitment of
  Purchasers Lender that was delivered to Purchaser prior to the
                                                                     scheduled date of Closing.
  e.Seller will pay for the title insurance commitment and the resulti
                                                                       ng owner's title policy.



 4.02 Condition ofTitle. Seller will use best efforts to
                                                         convey, and Purchaser will accept if ten
 dered, fee simple title to the Real Estate in accordance
                                                           with the terms of this Contract, subject
 only to (a) the matters set forth in Schedule B ("Permitted
                                                               Exceptions"),(h) matters that are
 insured against pursuant to section 15.04-b, and (c) any
                                                            other matters as to which both (i) Title
 Insurer is willing, without additional premium, to insure
                                                            by endorsement and (ii) Purchaser's
 Lender, if any, will accept, except that if such acceptance
                                                             by Purchaser's Lender is unreasonably
 withheld or delayed, the acce ptance will be deemed to have
                                                                been given.



 Article 5. Inspection, Due Diligence and Termination



5.01 Information Regarding the Premises. Within ten days from
                                                                  the Date of Execution Seller will
make available to Purchaser for inspection and copying (a) the
                                                                 documents that fix all the terms of
any Leases and of any Tenancies,(b) the documents that are referre
                                                                      d to in sections 8.04, 8.06,
8.07 and 8.08, and (c)such building plans and specifications, and
                                                                    such operating statements an d
balance sheets for the current fiscal year and for the immediately preced
                                                                          ing fiscal year, as are in
the possession or control of Seller and relate to the Premises.



5.02 Inspection of the Premises. Within 35 days after the
                                                               Date of Execution Purchaser may
inspect the Premises and obtain soil tests and an environmenta
                                                                  l audit of the Premises, all subject
to the rights of any tenants. Seller will use best efforts to
                                                              obtain any necessary consents from
tenants.



5.03 Purchaser's Electi on to Terminate. Purchaser may elect
                                                                to terminate this Contract by notice
  Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 43 of 135
      ase 1:18-cv-6406:
                      . 7M413 DOOUTent 1.-1 Filed 08/26/18 Fiageb of 17




to Seller at any time prior to five days after expiration of
                                                             the time period that is provided for by
section 5.02 if in Purchasers absolute discretion, which is not
                                                                  subject to question or review for
any reason,(a)the material that is described in section 5.01 has not
                                                                        been made available to
Purchaser as called for by that section,(b)Purchaser has not been
                                                                      able to inspect the Premises
and obtain soil tests and an environmental audit ofthe Premises, or
                                                                       (c)Purchaser is dissatisfied
with any matters disclosed by such documents, inspection or tests.
                                                                       If Purchaser so elects to
terminate this Contract, section 17.03 will apply.



5.04 Acceptance ofthe Premises. If Purchaser does not elect to
                                                                 terminate this Contract pursuant
to section 5.03 and Purchaser is otherwise required to proceed
                                                               hereunder, Seller will deliver(and
Purchaser will accept)the Premises in substantially the same condition at
                                                                           closing as on the Date of
Execution, except for ordinary wear and tear, and matters described in Article
                                                                                 11, but Purchaser
will have the benefit ofany representations and warranties by
                                                              Seller relating to the Premises.




                                                      Date:

                                                      Date:

                                                      Date:

                                                      Date:
     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 44 of 135
      Case 1:18-cv-04070-MLB Document 1-1 Filed 08/28/18 Page 10 of 17




                          CONTRACT FOR SALE OF REAL ESTATE




This is a CONTRACT between Wholesale Listings Ltd Co (hereinafter Seller or Sellers) and
ESRG Georgia Group I (hereinafter Buyer or Buyers), dated this 18th day of October 2017.

Be it known to all that in consideration of the mutual covenants and agreements contained in this
Contract as written and no other documents, the Seller agrees to sell to Buyer(s) and Buyer(s)
agree to purchase from the Seller(s) all the lands and premises situated in Dekalb County, State of
Georgia, described in the following section:

                               1564 Park Rd SE Atlanta, GA 30315

for the sum of $300,000.00 Three Hundred Thousand 00/100 Dollars, known as the Purchase
Price.

Towards that Purchase Price, $3,000.00, Three Thousand 00/100 Dollars has paid on the
execution of this Contract and the receipt of which is hereby acknowledged by Sellers, and the
remained of the Purchase Price is to be paid to the order of the seller at the times and in the
amounts as described in the following section:

Remainder of Purchase Price payable as follows: Cash at Closing
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Buyer(s)'s Right to Possession

The Buyer(s) shall be entitled to possession of the lands on October 31, 2017, and may retain such
possession so long as Buyer(s) is not in default under the terms ofthis Contract.

Buyer(s) Duty to prevent waste, prevent encumbrances.

Buyer(s) agree that at all times Buyer(s) will keep the premises and buildings(now or hereafter
erected)n good condition and repair and will not permit any waste or strip ofthe land or premises,
that the Buyer will keep the premises free from construction and all other liens and same the
Seller(s)harmless hum such liens and reimburse Seller(s) all costa and attorneys's fees incurred by
Seller(s) in defending against such liens; that Buyer(s) will pay all taxes hereafter levied against the
property, as well as all water service rents, public charges and municipal liens which hereafter
lawfully may be imposed upon the premises, all promptly before the same or any party thereof
become past due and delinquent


Buyer(s) Duiy to provide insuran

At Buyer(s)'s expense,Buyer(s) will insure and keep insured all buildings now or hereafter erected
on the premises against loss or damage by fire in an amount of not less than $            in a company
or companies satisfactory to the Seller(s), specifically naming seller(s) as an additional insured,
with losses payablefirst to the Seller(s) and then to the Buyer(s)as their respective interest may
appear and all policies ofinsurance shall be delivered to the Seiler(s)as soon as insured.

Seller(s)'s rights to cure defects without waiver of breach of contract

Ifthe Buyer(s)fail to pay any liens, costs, water rents, taxes or charges, the Seller(s) may do so
and any payment so made shall be added to and become part ofthe debt secured by the Contract
and shall bear interest at the above stated rate per annum,without waiver, however, on any right
arising tO4he Seller(s)for 13uyer(sys breach on contract.

Seller(s)s Obligation to'Provide Marketable Title
  Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 46 of 135
               8-cv-04070-MLB Document 1-1 Filed 08/28/1.8,;Page-12 of 17




The Seller(s) agreesazt Amts .h within 15 days ofthe date ofthe Contract,at Seller(s)'s expense a
title haunt= policies insuring in at MONA equal to the purchase price, marketable title in and
to the promises•in the Seller(s)on or subsequent to the date ofthis Contract and further,
                                                                                           save
and except the usual printed exceptions and the building or other restrictions and easement
                                                                                             s now
ofrecord,ifany.Seller(s)also agrees that when the purchase price is fully paid and upon request
and upon sunender to this Contract,Seller(s) will deliver a good and sufficient deed conveying
the premises in fee simple until the Buyer(s),Buyer(s)'s heirs, assigns, free and clear of
encumbrances as ofthe date herein identified and fee and clear ofall encumbrances that date
placed,permitted or arising by,through or under the Sellers(s),except the easements,
restrictions and the taxes, municipal liens, water rents and public charges as assumed by the
Buyer(s)and further excepting all liens and encumbrances created by the Buyer(s)or Buyer(s)'
                                                                                                 s
Rcigns.


Time is ofthe essence

It is further understood and agreed between the parties that time is of the essence

in this Contact,and should the Buyer(s)fail to make the payments as required, or any ofthem,
punctually within 20 days ofthe time limited therefor, or failure to keep any of its obligations
under this Contract,then the Seller(s) shall have the following rights and options:

(1)to declare the contract cancelled for default and thus null and void and to declare the
Buyer(s)`s rights forfeited and the debt extinguished,and to retain sums previously paid under this
Contract,subject to the Seller(s)complying with all applicable law pertaining to the exercise
                                                                                              of
this remedy,including ORS 93.905,et seq, or successor statutes;

(2)to declare the.whole tmpaid principal balance ofthe purchase price with the interest thereon at
once due and payable; and/or

(3)to freeclose this Contract by suit in equity.

In any ofsuth case,all rights and interest created or then existing in favor ofthe Buyer(sa)as
againstthe Seller(s) hall utterly cease and the right to possession ofthe premises described above
and all other rights acquired by the Bayer(s)under this Contract revert to an revest in the Seller(s)
without an act ofre-entry,or any other act ofthe seller to be performed and without
                                                                                        any right of
the Buyer(s)to reurn,reclaim or seek compensation ofmonies paid on the accountofthe
purehase un the property as absolutely, fully and *completely as ifthis contract and such payment
                                                                                                     s
had never beenviatie, and in case ofsuch default all payment previously made on this contract
                                                                                                  are
to be retained by and belong to the seller as:the agreed and reasonable rent ofthe premises
                                                                                              up to
the time of such default and the Seller(s) incase od such default, shall have right'immediately,
                                                                                                  or
at any time thereafter, to enter upon theland, withoutkm=()flaw,
                                                                        arid take immediate
possession thereof,together with all the-improvementsand appurtenances thereto on
                                                                                        thereto
belonging,

Buyer(s).further agrees that Seller(s)` failure to at any time require performance by Buyer(s)
                                                                                              of
Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 47 of 135
                                  B Document 1-1 Flied 08/28/18'4)age"13 of:




   any provision shall in no Way affect the Seller(s)'s right to
                                                                 enforce the same,nor shall any waiver
   by the Seller(s)ofany breach ofany provision bye
                                                         a waiver or any succeeding breach ofany such
   provision, or a waiverof* provision itself.

   Seller(s),Seller(s 'sagents, and the holder ofany existing encum
                                                                    brance to which the lands and
   premises are subject May enter upon the lands and premises at
                                                                  reasonable times, upon reasonable
   prior notice,for the purpose in inspecting the property.

  In case suit or action is instituted to foreclose this Contract or
                                                                     t enforce any provision thereof, the
  losing party in any suit or action shall pay the reasonable attorn
                                                                      ey's fees to be fixed by the trial
  court in favor ofthe prevailing party, and ifany appeal is take
                                                                     from the decision ofthe trial court,
  such further sum as may be fixed by the appellate court as
                                                                the prevailing party's reasonable
  attorney's fees and costs in the appellate court.

  In construing this CONTRACT,where the context requires, the
                                                                  singular includes the plural,
  grammatical changes shall be made so that the deed shall apply
                                                                  equally to corporations and to
  individuals, and handwritten or typed changes control
                                                        the printed text.

 This Contract shall bind and inure to the benefit of, as
                                                          the circumstances, may require,not only
 the immediate parties hereto, but also their respective heirs,
                                                                assigns, executors, administrators,
 personal representatives and successors in interest as well


 In witness whereof,the Buyer(s)and Seller(s) have execu
                                                         ted this instrument in duplicate this 5th
 day ofOctober,year 2017,and if          e undersigned ins a corporation, it has caused its name
 to be signed by an officer or   person duly authorized to do so by action of the board of
 directors:

 Purchaser.                                            Date:/a -20-,7-

                                                       Date:

                                                       Date:
Seller:                                                Date:
Contingency release chase
If you have not specified a deadline for your contingencie
                                                            s,such as 5 or 10 days for a professional
inspection, or 30 days for mortgage approval, you can expec
                                                               t a well-advised home seller to set a
time knit on your contingencies. Or,ifyou make.your
                                                         home purchase contract contingent on the
sale ofyour cuiaent residence(which few home seller
                                                       s will accept),expect the seller to
COMteroffer, giving you 24 or 48 hours
                                         after an acceptable second purchase offer is received from
a second buyer to remove your`contingency clause for sale
                                                             ofyour old home. This is reasonable
and fair to both buyer and seller.
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 An "As Ls" clause
 Some home sellers insist on selling their homes"as is." That means the
                                                                          seller and realty agent
 make no representations or warranties and won't pay for any repairs. Howeve
                                                                                r,the seller and
 realty agents must still disclose any known home defects to the buyer. Avoid
                                                                                 agreeing to an "as
 is" clause if you want the seller to pay for repairs ofknown serious defects.


When describing the purchase terms,don't specify "All cash to seller" if you require
                                                                                     a new
mortgage to provide that cash. Be sure your offer contains a clause making your
                                                                                 offer contingent
on approval ofthe mortgage. Even if you got preapproved for a mortgage, the
                                                                               lender can avoid
making the loan by low-balling the appraisal.

The mortgage you want to obtain should be specified with detail, such as a new
                                                                                  30-year fixed
interest rate mortgage of at least $100,000 with interest not exceeding 8 percent
                                                                                  , a loan fee of not
more than 2 percent, and a monthly payment not exceeding $733.76. If you want
                                                                                    the seller to help
finance the sale, by carrying back either a first or second mortgage, here is where
                                                                                    you specify the
terms you want.

Personal property
If you want any personal property included in the home sale, such as the kitchen
                                                                                   appliances, be
sure to specifically itemizethem in your purchase offer. For example,
                                                                        specify the "General Electric
side-by-side refrigerator with electronic monitor now on the premises." This
                                                                               stops the seller from
substituting infetior replacement personal property at the last minute.

Time foracceptance of your purchase offer
Yourpurchase offershould contain a short time for the seller's acceptance. Twenty
                                                                                       -four hours is
=ally sufficient unless the seller is out oftown. Don't make your offer valid
                                                                                 for a long time
period because then it will be "shopped" by the realty agent to see if a better offer
                                                                                      from another
buyercan be obtained.

    profeisSional inspection
The buyer should pay for the professional inspection because its for the buyer's
                                                                                  benefit.
Accompany the professional inspector. When a defect discovered is serious,such
                                                                                    as a cracked
chimney,expect the sellerto pay for the repair. Ifthe seller refuses to pay for major
                                                                                       necessary
repairs, disapprove the report and get your good faith deposit refunded.
*Seller's disclosure cifknown:defects
Ntany states, led by California and Maine, now requite home sellers and their realty
                                                                                       agents to
disclose in writing any:known defects in the residence.If your state requires seller
                                                                                     disclosure of
defects, your purchase offer should be contingent upon yourapproval ofthe seller's disclosure.
•Liquidated datriages clause
This clause specifies maximum damages a defaulting buyer must pay to the home
                                                                                   seller ifthe
buyer doesn't complete:the purchase as agreed.Some state laws set maxim
                                                                             um liquidated damages.
As a buyer, you may wantto'agree to liquidated damages so you can't be held liable
                                                                                       for more than
the specified sum ifyou default.
-Arbitration ofdisputes clause
    Case 1:18-cv-04070-SDG
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                            Document 30 Filed 02/07/19 Page 49 of 135
        ase        cv 04070-MLB Docunient 1-1 Filed 08/28/18 • Page 15 of 17




  Most printed real estate purchase contracts now contain an optional clause
                                                                                whereby the buyer and
 seller agree to arbitrate disputes. Misguided real estate agents, blindly followin
                                                                                    g recommendations
 from their real estate trade gmups, often suggest signing the arbitration clause. I
                                                                                      strongly
 disagree. Too many uncontrollable things can go wrong with arbitration of disputes
                                                                                        . My
 recommendation is don't agree to arbitration. Ifa dispute arises later, at that time you
                                                                                           can decide
 if you prefer to go to arbitration or mediation rather than become involved in a lawsuit
 •An all-inclusive weasel clause
 Although the professional inspection contingency clause is sufficient, you might want
                                                                                           to also
 include an all-inclusive weasel clause such as This purchase offer is contingent upon
                                                                                          buyer's
 attorney satisfactory inspection and approval ofthe purchase contract within 10 business
                                                                                               days."
 This gives you a "free look" while your attorney, CPA or other trusted business advisor
                                                                                             reviews
 the agreement.

 Article 3. Purchaser's Mortgage Contingency



3.01 Application. If an amount is specified at item VIII, Purchaser will (prompt
                                                                                 ly after this
Contract is signed) use best efforts to obtain a first mortgage on the Premises
                                                                                in that amount and
on the terms specified in section D-3.



3.02 Alternate Financing. If Purchaser is unable to obtain such commitment
                                                                             and gives notice
thereofto Seller by the time specified in or determined pursuant to section D-3-j,
                                                                                   Seller may
within 21 days after the effective date ofsuch notice by Purchaser(a)procure
                                                                               for Purchaser a firm
commitment from an institutional lender for a first mortgage loan meeting such terms
                                                                                        or(b)
accept a Purchase Money Mortgage on such terms. If Seller does so within
                                                                            such additional 2I-day
time period, item VIII and section D-3 will no longer apply; otherwise this Contract
                                                                                      will terminate
and section 1 7.03 will apply.

3.03 A lender that makes any such loan is referred to herein as "Purchaser's Lender."



Article 4.Title Insurance and Condition of Title



4.01 Title Commitment.Plump* after the Execution Date Purchaser will
                                                                       apply (directly or
through Purchaser's Lender)for issuance by Title Insurer ofa commitment
                                                                        for an owner's title
          NOW'

a.The             is(i)to be in the amount ofthe Purchase Price,(ii)to include a zoni ng
endorsement that insures Purchaser that the existing structures on, and the present
                                                                                    use of, the
    Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 50 of 135
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  Real Fstate do not violate any zoning laws, regulat
                                                      ions and ordinances,(iii) to include extended
  coverage over general exceptions, and (iv) to cover title
                                                            to the Real Estate on or after the Date of
  Execution.

 b.On receipt ofthe commitment Purchaser will promptly cause a
                                                                       copy ofthe commitment to be
 delivered to Seller's attorney. Seller will use best efforts to cause
                                                                       the commitment to conform to
 the condition oftitle specified in Section 4.02 by the earlier of
                                                                    (1)63 days after Seller receives a
 copy ofthe commitment and (ii) the expiration date ofany written
                                                                        loan commitment of
 Purchaser's Lender that was delivered to Purchaser prior to the schedu
                                                                            led date of Closing.
 c.Seller will pay for the title insurance commitment and the resulti
                                                                        ng owner's title policy.



 4.02 Condition of Title. Seller will use best efforts to convey
                                                                 , and Purchaser will accept if ten
 dered,fee simple title to the Real Estate in accordance
                                                           with the terms of this Contract, subject
 only to(a)the matters set forth in Schedule B ("Permitted
                                                               Exceptions"),(b) matters that are
 insured against pursuant to section I5.04-b,and(c)any
                                                            other matters as to which both (i) Title
 Insurer is willing,without additional premium,to insure by
                                                                endorsement and (ii) Purchaser's
 Lender, if any, will accept, except that if such acceptance
                                                             by Purchaser's Lender is unreasonably
 withheld or delayed, the acce ptance will be deemed to have
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 Article 5. Inspection, Due Diligence and Termination



5.01 Information Regarding the Premises. Within ten days from
                                                                   the Date of Execution Seller will
make available to Purchaser for inspection and copying(a)the
                                                                  documents that fix all the terms of
any Leases and ofany Tenancies,(b)the documents that are
                                                                referred to in sections 8.04, 8.06,
8.07 and 8.08, and(c)such building plans and specifications, and
                                                                     such operating statements an d
      ce sheets-fix the current fiscal year and for the immediately preceding
                                                                               fiscal year, as are in
the possession or control ofSeller and relate to the Premises.



5.02 Inspection ofthe Premises. Within 35 days after the Date of
                                                                      Execution Purchaser may
inspect the Premises and obtain soil tests and an environmental
                                                                    audit of the Premises, all subject
to the rights ofany tenants. Seller will use best efforts to obtain
                                                                    any necessary consents from
tenants.




           asees Eiecti on to:Terminate. Purchaser mayelect to
                                                                    terminate this Contract by notice




                                                                                                         "rji,21'?1
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to Seller at any time prior to five days after expiration of
                                                             the time period that is provided for by
section 5.02 ifin Purchaser's absolute discretion, which is not
                                                                  subject to question or review for
arty reason,(a)the material that is described in section 5.01
                                                                has not been made available to
Purchaser as called for by that section,(b)Purchaser has not been able
                                                                             to inspect the Premises
and obtain soil tests and an environmental audit ofthe
                                                          Premises, or (c)Purchaser is dissatisfied
with any matters disclosed by such documents, inspection or
                                                                 tests. If Purchaser so elects to
terminate this Contract,section 17.03 will apply.



5.04 Acceptance of the Premises. IfPurchaser does not elect
                                                              to terminate this Contract pursuant
to section 5.03 and Purchaser is otherwise required to
                                                       proceed hereunder, Seller will deliver (and
Purchaser will accept)the Premises in substantially the same
                                                             condition at closing as on the Date of
Execution, except for ordinary wear and tear, and matters described
                                                                     in Article 11, but Purchaser
will have the benefit ofany representations and
                                                warranties by Seller relating to the Premises.
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           Exhibit "B"
         Case 1:18-cv-04070-SDG       Document
                 Case 1:18-cv-04070-MLB          30 Filed 02/07/19 Page 53 of 135
                                        Document 1-2 Filed 08/28/18 Page 2 of 5OMBApproval No 2502-0265
                                A.    Settlement Statement(HUD-1)

  B. Type of Loan


                                                                                       6. File No.                     7.loan No.                      8. Mortgage insurance Case No.
  1. ❑ FHA                   2.   1     RHS             3.        Corw. Unlns.
                                                                                        GA-17-1808
  4. !    ! VA               5.         Cony Ins.

  C. Note:    This form is furnished b give you a statement of actual settlemert costs. Amounts paid to and by the settlement agent are shown. Items marked 1p.o.c.r were paid outside
              the closing; they are shawl here for informational purposes and ae not Included in the totals.

  D. Name &Address or Borrower:                                                         E. Name &Address of Seller:                                    F. Name &Address of Lender:
  Wholesale Listings Co                                                                 Ruth Fermlno                                                   Lima One Capital
  1372 West Peachtree Street                                                            1564 Park Road Southeast
  Atlanta, GA 30309                                                                     Atlanta, GA 30315
  G. Property Location:                                                                 H.Settlement Agent:                                            I. Settlemert Date:
  1564 Park Road Southeast                                                              Integrity Settlement Services                                  01/04/2018
  Atlanta, GA 30315                                                                                                                                    Funding Cate:
                                                                                       Place of Settlemert:                                            01/04/2018
                                                                                       401 E Jackson St Suite 3300 Tampa FL                            Disbursement Date:
                                                                                       33602                                                           01/04/2018


  J. Summary of Borrower's Transaction                                                               K. Summary of Seller's Transaction


 100. Gross Amourt Due from Borrower                                                                 400.GrossAmount Due to Seller
 101. Contract sales price                                      5250,500.00                          401. Contract sales prim                                      5250,500.00
 102. Personal property                                                                              402. Personal property
 103. Settlemert charges to borrower(line 1400)                 5875.50                              403.
 104.                                                                                                404.
 105.                                                                                                405.
 AdJustmert for Items paid tv seller In advance                                                      AdJustmert for items pald bt sellerin advance
 106. City/gown Taxes                                                                                406. Cibpgown Taxes
 107.County Taxes                                                                                    407. County Taxes
 108.Assessmerts                                                                                     408.Assessmerts
 109.                                                                                                409.
 110.                                                                                                410.
 111.                                                                                                411.
 112.                                                                                                412.
 120. Gross Amount Due from Borrower                            5251,375.50                          420.GrossAmount Due to Seller                                 5250,500.00
 200.Amount Paid by or in Behalfof Borrower                                                          500. Reductions InAmount Due to Seiler
 201. Deposit                                                                                        501. Exess deposit tee instruction1
 202. Principal amourt of new loants)                                                                502. Settlement charges to seller(line 1400)                  5625.00
 203. Existing loan() taken subject b                                                                503. Existing loan()taken subject b
 204.                                                                                                504. Payoff of First Mortgage Loan
 205.                                                                                                505. Payoff of Second Mortgage Loan
 206.                                                                                                506.
 207.                                                                                                507.
 208.                                                                                                508.
 209.                                                                                                509.
 Adjustmerts for items unpaid bi seller                                                              Adjustmerts for Items unpaid tv seller
 210. City/Town Taxes to 11/08/2017                             5494.92                              510. City/gown Taxes to 11/08/2017                            5494.92
 211. County Taxes to 11/08/2017                                $161.58                              511. County Taxes to 11/08/2017                               5161.58
 212.Assessmerts                                                                                     512.Assessmerts
 213.                                                                                                513.
 214.                                                                                                514.
 215.                                                                                                515.
 216.                                                                                                516.
 217.                                                                                                517.
 218.                                                                                                518.
 219.                                                                                                519.
 220.Total Paid by/for Borrower                                 $0.00                                520.Total ReductionAmount Due Seller                          $1,281.50
 300.Cash at %ttlement from/to Borrower                                                              600. Cash at Settlemert to/from Seller
 301.Gross amourt due horn borrower(line 120)                   5251,375.50                          601.Cross amourt due to seller(line 420)                      5250.500.00
 302. less amourts paid by/for borrower(line 220)               50.00                                602. less reductions in amourts due seller(line 520)          51,281.50
                                                                                                                                                                   5249,218.50
 303. Cash      XI From               To Borrower               $251,375.50                          603. Cash     X     Tc          From Seller


The Public Reporting Ebrden for this mllection d information is Estimated at 35 minutes per response for collecting, reviewing, and reporting the data. This agency may not collect this
information, andyou are not required to complete this form, unles it displays a currently valid OMB control number. No confidentiality is assured; this disclosure is mandatory. This is
designed b provide the parties b a RESPA covered transactionwith information during the settlement process.




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   L. Settlement Charges

   700.TOtai Real Estate Broker Fees                                                                                               Paid From          Paid From Seller's
   Division of commission (line 700)as 611ows:                                                                                     Borrower's Funds   Funds at Settlemert
                                                                                                                                   at Settlemert
  701 $
  702. S
  703. Commission paid at setlemert
  704.
  800 Items Payable In COnnectiOnwith Loan
  801. Our origination chage                                                                                       (from GFE #1)
  802.Your credit orcharge (points)for the specific Irterest rate chosen                                           (from GFE #2)
  803.Your adjusted origination chages                                                                             (from GFE #A)
  804.Appraisal fee                                                                                                (from GFE #3)
  805. Credit report                                                                                               (from GFE #3)
  806.Tax service                                                                                                  (from GFE N3)
  807. Flood certification                                                                                         (from GFE #3)
  808.
  809.
  810.
  811.
  900. Items Required by Lender to be Pald InAdvance
  901. Daily Interest charges from 11/08/2017 b 12/01/2017                                                        (from GFE #10)
  902. Mortgage Insurance premium                                                                                  (from GFE #3)
  903. fkimeowner's insurance                                                                                     (from GFE 811)
  904.
  1000. Fbsenes Deposited with lender
  1001. WWI deposit br your escrow account                                                                         (from GFE #9)
  1002. Homeowner's Insurance
  1003. Mortgage insurance
  1004. Property taxes
  1005.
  1006.
  1007.Aggregate AdJustrnert $0.00
  1100.Tltfe Charges
  1101.Title services and lendert tide insurance                                                                  (from GFE #4) 8625.00
  1102. Settlement or closing lee to Integrity Settlement Services 625.00                                                                             1625.00
  1103.Owned title insuonce to Old Republic NitionalTitle Insurance Company                                       (from GFE #5)
  1104. tender's title insurance to Old Republic NationalTitle Insurance Company
  1105.lender's title policylimit S
  1106. Owners title policylimit S
  1107.Agent's por on o f the total tle Insurance premium to Integrity Settlement Scrubs
  1108. thderwriters portion d the total title insuence premium b Old Republic National Title Insurance Company
  1109.
  1110.
  1111.
  1200. Governmert Recording andTransfer Charges
  1201, Governmert recording dimes                                                                                (from GFE #7)
  1202. Deed $ Mortgage $ Release fto Fulton County Recording Office
  1203.Transfer taxes                                                                                             (from GFE 88) $250.50
  1204. City/County tax/stamps Deed S Mortgage S
  1205. Rate taxhtamps Deed $250.50Mortgage S to Fulton County Recording Office
  1206.
  1300.Additional Settlemert Charges
  1301. lb:mired services thatyou can shop br                                                                     (from GFE #6)
  1302.
  1303.
  1304.
  1305.
  1306.
  1307.
  1308.
  1309.
  1310.
  1400.Total Settlemert Charges(enter on lines 103,%ction)and 502,Section K)                                                       $875.50            $625.00




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  Comparison ct Good Faith Estimate(GFE)and HUD-1 Chages                                                                        Good Faith Estimate             HUD-1
  Charges That Canna Increase                                                   HUD-1 Line hlimber
  Our origination chage                                                        8801
  Your credit or charge (points)for the specific irterest rate chosen          #802
  Your adjusted origination chages                                             #803                                             80.00
  Transfer taxes                                                               81203                                                                            $250.50

  Charges That In Total Canna increase Nbre Than 10%                                                                            Good Faith Estimate             HUD-1
  Government recording charges                                                 1201




  Total
  Increase between GFE and HUD-1 Chages                                                                                                                        %

  Charges That Can Chang                                                                                                        Good Felth Estimate            HUD-1
  Initial deposit br your escrow account                                       1001
  Daily interest charges                                                       901
  Homeowner's Insurance                                                        903
  Title services and tendert title insmance                                    1101                                                                            8625.00




   Loan Terms

  Your initial loan amourt is
  Your loan term Is
  Your initial irterest rate is
  Your initial morthly amount owed for principal, Irterest, and ary mortgage               indudes
  Insurance Is

                                                                                M Principal


                                                                                X Interest

                                                                                      Mortgage Insurance

  Can your interest rate rise?
                                                                                X      No.1         Yes, it can rise b a maximum d               .The first change will be on
                                                                               and can change again eery                months after              . Every change date, your Interest rate can
                                                                               Increase or decrease by             . Over the life of the loan,your interest rate is guaranteed to never be
                                                                               lower than              or higher than
  Even if you male paymerts on time, canyour loan balance rise?
                                                                                      No, 1      1 Yes, it can rise b a maximum d
                                                                               Ixl
  E
  p znciipfryrtm
               ere
                 ale
                  stpazirn
                        erott
                            rtg
                              oantiTie
                                     sra
                                       canncyeagzr
                                                 ,ionthlyamourt owed for
                                 ge                                            i X1 No, 1        1 Yes, the first increase can be on             and the morthlyamourt owed can rise b

                                                                                              The maximum It can tier rise to Is
  Does your loan haw a prepaymert penalty?
                                                                                      No, 1      1 Yes, your maximum pepaymert penaltyis
                                                                               IXI
  Does your loan have a balloon paymert?
                                                                                      No            Ves, you haw a balloon paymert of                 due in            years on
                                                                               IXl     '

  Total morthly amourt owed Including escow account paymerts
                                                                                     You do nct haw a morthly escrow payment for items, such as poperty taxes and homeowner's
                                                                               I x l insurance. You must paythese items dIrectiyyourself.

                                                                                      You haw an additional morthly escrow paymert of that results in a btal Initial morthlyamourt
                                                                                      owed of. This includes principal, Iderest, any mortgage insurance and ary items checked below:

                                                                                       Property tares                     ❑ Homeowner% insurance

                                                                                       Flood insurance
                                                                                                                          ❑

                                                                                                                            •

Note: If you haw arty questions about the Settlemett Charges and loan Terms listed on this form, please contact your lender.



See signature addendum




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   Signature Addendum


 Wholesale Listings Co LLC, a Georgia Limited Liability Company

 By:                                                                      Ruth Fermino                                                Date
       Casita Simpson, Manager                                 Date



 The HUD-1 settlement statement which l have prepared is a true and accurate account of this transaction. l have caused or will cause the
 funds to be disbursed in accordance with this statement


 Settlement Agent                                                                                                                           Date




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                                                                                                                                        HUD-1
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           Exhibit"C"
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                                  A.    Settlement Statement(HUD-1)


    1. n FHA                    2. I                         I                              File No.                      7. Loan No.                     8. Mortgage Insurance Case No.
                                          RHS             3. 1    I Cony. Unins.
                                                                                          GA-17-1808
      r--
   4. '   I VA                  5. I   J Conv Ins.


   C. Note;    This form Is furnished b give you a stalemert of actual settlemert cos s. Amounts paid to and by the settlement agent are shown. Items marked 'fio.o.cr were paid outside
               the closing; they are sham hem for informational purposes and ae not included in the totals.

    D. Name &Address of Borrower:                                                         E. Name &Address of Seller:                                     F. Name &Address of Lender:
   ESRG Georgia Group l                                                                  Wholesale Listings Co
   5317 Peachtree Boulevard                                                              1372 West Peachtree Street
   Chamblee, GA 30341                                                                    Atlanta, GA 30309
   G.Property Location:                                                                   H.S ettlemertAgent:                                             I. Settlemert Date:
   1564 Park Road Southeast                                                               Integrity Settlement Services                                   01/04/2018
   Atlanta, GA 30315                                                                                                                                      Funding Cate:
                                                                                         Place of Settlement:                                             01/04/2018
                                                                                         401 E Jackson St Suite 3300 Tampa FL                             Disbursemert Date:
                                                                                         33602                                                            01/04/2018

   J. Summary of Borrower's Transaction                                                                 K. Summary of Seller's Transaction

  100. Goss Arnount Due from Borrower                                                                  400.Gross Amount Dueto Seller
  101. Contract sales price                                      5300,000.00                           401.Contract sales price                                      $300.000.00
  102. ftrsonal property                                                                               402. Personal property
  103. Settlemert charges to borrower(line 1400)                 $1,642.00                             403.
  104.                                                                                                 404.
  105.                                                                                                 405.
  Adjustmert for Items paid by seller in advance                                                       Adjustment for items paid by seller in advance
  106. Citv'Town Taxes                                                                                 406. CR-IL-own Taxes
  107. County Taxes                                                                                    407. County Taxes
  108.Assessmerts                                                                                      408.Assessmerts
  109.                                                                                                 409.
  110.                                                                                                 410.
  111.                                                                                                 411.
  112.                                                                                                 412.
  120. Gross Amount Due from Borrower                            5301,642.00                           420.Gross Amount Due to Seller                                $300,000.00
  200.Amourt Paid by or in Behalfof Borrower                                                           500. Reductions InAmount Due to Seller
  201. Deposit                                                   53,000.00                             501. Eicess deposit tee instructioni
  202. Principal amourt of new ioants)                                                                 502. Settlement charges to seller(line 1400)                  $625.00
  203. Existing loan0 taken subject b                                                                  503. Existing loanf)taken subject b
  204.                                                                                                 504. Payoff of First Mortgage Loan
  205.
                                                                                                                                                                    $255,774.57
                                                                                                       505. Payoff of Second Mortgage Loan
  206.                                                                                                 506. Broker Fee                                              $1250.00
  207.                                                                                                 507.
  208.                                                                                                 508.
  209.                                                                                                 509.
  Adjustmerts for items unpaid by seller                                                               Adjustments for Items unpaid 4'seller
  210. CitliTown Taxes to 12/27/2017                             $494.92                               510. CitiTown Taxes to 12/27/2017                             $494.92
  211. County Taxes to 12/27/2017                                $161.58                               511. County Taxes to 12/27/2017                               5161.58
  212.Assessmerts                                                                                      512.Assessmerts
  213.                                                                                                 513.
  214.                                                                                                 514.
  215.                                                                                                 515.
  216.                                                                                                 516.
  217.                                                                                                 517.
 218.                                                                                                  518.
 219.                                                                                                  519.
 220.Total Paid by/for Borrower                                  $3,656.50                             52().Total ReductionAmount Due Seller                        $258,306.07
 300. Cash at &ttlemert from/to Borrower                                                               600. Cash at &ttlemert to/from Seller
 301. Gross amourt due from borrower(line 120)                   $301,642.00                           601. Gross amourt due to seller(line 420)                    5300000.00
 302.Less amourts paid ty/for bonower(line 220)                  $3,656.50                             602.Less reductions in amourts due seller(line 520)          5258,306.07
  303. Cash                                                      $297.985.50                                                                                        541,693.93
               I Xi From               To Borrower                                                     603. Cash   IX     Tc   1    I From Seller


The Public Reporting Burden for this collection cf information is Estimated at 35 minutes per response for collectlng, reviewing, and reporting the data. This agency may not collect this
information. andyou are not required to complete this form, unles it displays a currently valid OMB control number. No confidentiality is assured; this disclosure is mandatory. This is
designed b provide the parties b a RESFA covered transactlonwith information during the settlement process.




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   L Settlement Charges

  700.Total Real Estate Broker Fees                                                                                                           Paid From          Paid From Seller's
  Division of commission (line 700)as fillows:                                                                                                Borrower's Funds   Funds at Settlement
                                                                                                                                              at Settlement
  701.$
  702.$
  703. Commission paid at settlement
  704.
  800. kems Payable In Connectionwith loan
  801. air origination chage                                                                                                  (from GFE #1)
  802.Your credit orcharge(points)for the specific Irterest rate chosen                                                       (from GFE #2)
  803.Your adjusted origination chages                                                                                        (from GFE #A)
  804.Appraisal fee                                                                                                           (from GFE 83)
  805. Credit report                                                                                                          (from GFE #3)
  806.Tax service                                                                                                             (from GFE #3)
  807. Flood certification                                                                                                    (from GFE #3)
  808.
  809.
  810.
  811.
  900. Items Required by Lender to be Pald InAdvance
  901. Daily interest charges from 12/27/2017 b 01/01/2018                                                                   Prom GFE 8101
  902. Mortgage Insurance premium                                                                                             (from GFE #3)
  903. Homeowner's insurance                                                                                                 (from GFE #11)
  904.
  1000. Reserves Deposited with Lender
  1001. Initial deposit bryour escrow account                                                                                 (from GFE #9)
  1002.l-bmemner's insurance
  1003. Mortgage insurance
  1004. ProPertY taxes
  1005.
  1006.
  1007.Aggregate Adjustmert $0.00
  1100.Title Charges
  1101.Title services and lendert title insurance                                                                            (from GFE #4) $625.00
  1102. Settlement or closing fee to Integrity Settlement Services $625.00                                                                                       $625.00
  1103. Owners title Insurance to Old Republic NetionalTitle Insurance Company                                               (from GFE #5) $717.00
  1104. Lender's title insurance to Old Republic NationalTitle kwurance Company
  1105. lender's title policylimit $
  1106. Owners title policylimit $300,000.00
  1107.Agent's por on o f the total lie insurance premium to Integrity Settlement Services
  1108. Lhderwriter's portion d the total title insurance premium to Old Republic National Title Insurance Company $717.00
  1109.
  1110.
  1111.
  1200. Covernmert Recording andTransfer Charges
  1201. Government recording charges                                                                                         (from GFE #7)
  1202. Deed $ Mortgage $ Release $to Fulton County Recording Office
  1203.Transfer taxes                                                                                                        (from GFE #8) $300.00
  1204.U-1/County tax/stamps Deed $ Mortgage $
  1205. Rate tax/stamps Deed $300.00Mortgage $ to Fulton County Recording Office
  1206.
  1300.Additional Settlemert Charges
  1301. Required services thatyou can shop br                                                                                (from GFE #6)
  1302.
  1303.
  1304.
  1305.
  1306.
  1307.
  1308.
  1309.
 1310.
 1400.Total Settlement Charges(enter on lines 103,Ictioni and 502,Section K)                                                                  $1,642.00          $625.00




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  Comparison d Good Faith Estimate(GFE)and HUD-1 Chages                                                                        Good Rath Estimate              HUD-1
  Charges That Cannct Increase                                                  HUD-1 Line timber
  Our origination chage                                                        #801
  Your credit or charge (points)for the specific Irterest rate chosen          #802
  Your adjusted origination chases                                             #803                                             50.00
  Transfer taxes                                                               #1203                                                                           $300.00

  Charges That In Total Cannct Increase More Than 10%                                                                          Good Faith Estimate            HUD-i
  Governmert recording charges                                                 1201




  Total
  Increase between GFE and HUD-1 Chages                                                                                                                       %

  Charges That Can Chang                                                                                                       Good Faith Estimate            HUD-1
  Initial deposit br your escrow account                                       1001
  Daily interest charges                                                       901
  Homeowner's insurance                                                        903
  Title services and tendert title insurance                                   1101                                                                           $625.00
  Owner's tide insuonce                                                        1103                                                                            $717.00



  Loan Terms


  Your initial loan amourt is
  Your loan term Is
  Your initial irterest rate is
  Your initial morthly amourt owed for principal, irterest, and ary mortgage                 includes
  insurance Is

                                                                               In Principal


                                                                                X     Interest


                                                                                      Mortgage Insurance

 Can your interest rate rise?
                                                                                X I No, I         I Yes, it can rise b a maximum d              .The first change will be on

                                                                               and can change again every              months after              . Every change date, your interest rate can
                                                                               increase ordecrease by             . Over the life of the loan,your interest rate is guaranteed to never be
                                                                               lower than             or higher than
  Even if you male paymerts on time.canyour loan balance rise?
                                                                                                      Yes, it can rise ID a maximum d
                                                                               x I No.
 Even if you mate paymerts on time, canyour monthly amount owed for            x
 principal, irterest, and mortgage insurance rise?                                     No,            Yes, the first increase can be on          and the morthlyamourt owed can rise b

                                                                                             . The maximum It can erer rise to is
 Does your loan have a prepayment penalty?
                                                                               X       No, I      I Yes, your maximum pepaymert penaltyis

 Does your loan have a balloon payment?
                                                                                       No,            Yes, you have a balloon pawned of              due in            years on
                                                                               IXI                I


 Total monthly amourt owed including escow account paymerts
                                                                                   You do net have a monthly escrow paymert for Items, such as poperty taxes and homeowner's
                                                                               X I insurance.You must paythese items directlyyoursert


                                                                                      You have an additional morthly escrow payment of that results in a btal initial morthly amount
                                                                                      owed of.Thls Includes principal, Interest, any mortgage insurance and an/ items checked below:


                                                                                       Property taxes                               Homeownerk insurance

                                                                                        Flood insurance




 ore: If you have any questions aboute llttlemert Charges and loan Terms listed on this form, please contact your lender.



See signature addendum




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ESRG Georgia Group I LLC, a Georgia Limited Liability Company            Wholesale Listings Co LLC, a Georgia Limited Liability Company

By:                                                                      By:

      Susan Tanoe, Manager                                    Date             Casita Simpson, Manager                               Date



The HUD-1 settlement statement which I have prepared is a true and accurate account of this transaction. I have caused or will cause the
funds to be disbursed in accordance with this statement


Settlement Agent                                                                                                                           Date




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            Exhibit "D"
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                             ASSIGNMENT OF CLAIM

This document is an assignment by Lima One Capital, LLC, a Georgia limited liability
company (hereinafter identified as the CLAIMANT).

CLAIMANT assigns to the following person or entity hereinafter identified here as
ASSIGNEE:

  Name:               Lima One Capital Special Servicing, Inc., a Delaware
                      corporation
  Address:            201 E. McBee Ave, Suite 300
                      Greenville, SC 29601

CLAIMANT has designated and appointed ASSIGNEE to act as CLAIMANT'S agent
and representative for CLAIMANTS sole benefit pursuant to that certain agency
agreement (the "Agency Agreement") between CLAIMANT and ASSIGNEE with
respect to those certain legal claims CLAIMANT has arising out of the purported sale
of 1564 Park Road SE, Atlanta, GA 30315 and related financing provided by
CLAIMANT.

CLAIMANT hereby assigns, pursuant to the terms of the Agency Agreement, only
those claims that are against the following persons or entities:

    Name:       E.S. Real Estate           Name:        Consortium Title, LLC
                Consortium, Inc.
   Address:     5317 Chamblee Blvd         Address:     1775 Tysons Blvd
                Suite 316                               Tysons, VA 22182
                Chamblee, GA 30341


   Name:        Integrity Settlement       Name:        Aneaka English
                Services, LLC
   Address:    401 E. Jackson Street       Address:     3491 Cragstone Rd
               Suite 3300                               Lithonia, GA 30038
               Tampa, FL 33602


   Name:        Coleen Thomas              Name:        Casita Simpson
   Address:    1775 Tysons Blvd            Address:     5902 Bahama Court
               Tysons, VA 22182                         West Palm Beach, FL
                                                        33407
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CLAIMANT has duly executed this assignment to be effective this   day of August,
2018.

                                  CLAIMANT:

                                  By: Lima One Management, LLC, a South
Date Executed                     Carolina limited liability company
                                  Its:   Manager
                                                              /
                                         By:
                                                Join S. Warren,tr.
                                         Its:   Manager




Open.26479.80
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                         EXHIBIT E
                        Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 66 of 135

From: Matthew Poole
Sent: Tuesday, January 16, 2018 93259 AM
To:seryices@integritysettlementservices.net
Cc: Dustin Simmons; Ross Coll
Subject: Re:[External] Re:Transactional Funding - 1564 Park Rd SE
Sensitivity: Normal



Any legitimate lending institution would be chasing $255k ifit wasn't received in the proper time frame that was agreed upon. You said you would send the
tracking number. I will be happy to forward you the email where you said that. So please send that tracking number ASAP.

Matthew Poole

From:services@integritysettlementservices.net <services@integritysettlementservices.net>
Sent:Tuesday, January 16,2018927:49 AM
To: Matthew Poole
Cc: Dustin Simmons; Ross Coll
Subject: Re:[External] Re: Transactional Funding - 1564 Park Rd SE

Good Morning,

You guys are legitimate lending institution. I am not sure why you are
conducting yourselves like you just spent your last 5.00. We leave
early on Fridays therefore no one was here to take your call or return
your email over the loan holiday weekend. Further not send you the
fedex tracking doesn't mean the FedEx wasn't sent. You can let whoever
you hie contact me or my office directly. The package is on the way to
Lima One Capital.



On 2018-01-12 1559, Matthew Poole wrote:
> We are past 3:30. No fed ex tracking. We are going to be reaching out
> to legal counsel at this point.


> Matthew Poole
> Deputy Director of Short Term Finance
> NMLS # 1423193

> P:800-390-4212 Ext:348
> F:864-236-4872
> E-mail: inpoole@limaonecapitalcom
> www.limaonecapitaLcom

>     Original Message
> From: Client Services [mailto:services@integritysettlementservices.net]
> Sent: Friday, January 12,2018 933 AM
> To: Matthew Poole <mpoole@limaonecapitaLcom>
> Cc: Client Services <services@integritysettlementservices.net>; Dustin
> Simmons <dustin@limaonecapitaLcom>; Ross Coll
> <rcoll@limaonecapitaLcom>
> Subject: RE:[External] Re: Transactional Funding - 1564 Park Rd SE
> Importance: High

> It was sent. However I am going to send the check as discuss so that I
> can
> close this file out. You requested I send the wire again. That is what
>was done. I know how important it is to disburse and receive funds
> timely.


> On Fri, January 12, 2018 9:23 am, Matthew Poole wrote:
» We need the federal reference number for this wire to track it. We
                                                                                                                                    Exhibit C -1
                       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 67 of 135
» have
» been asking for over a day. If we don't have this by 1030am EST,we
» will
» be contacting our legal counsel


» Matthew Poole
» Deputy Director of Short Term Finance
>> NMLS # 1423193


» P:800-390-4212 Ext: 348
» F: 864-236-4872
» E-mail: mpoole@limaonecapitaLcom
» www limaonecapitalcom

»      Original Message
» From: Client Services
» [mailto:services@integritysettlementservices.net]
>> Sent:Friday, January 12,2018 8:08 AMI
» To: Dustin Simmons <dustin@limaonecapitaLcom>
» Cc: Matthew Poole <mpoole@limaonecapitalcom>; Client Services
» <services@integritysettlementservices.net>; Ross Coll
» <rcoll@limaonecapitalcom>
» Subject: RE:[External] Re: Transactional Funding - 1564 Park Rd SE


» Good Morning,


».I spoke with the Private Banking Manger at Chase regarding the wire as
»I
>> found out we have wired to Lima One 8 times before. Issue being that
» the
» number for your banks routing is also their ACH number and it can take
» 2-3
» business days to arrive depending on how the wire room processes the
>> transaction. But it is however there and being processed.,

» What I will do though is not cancel the wire but still send the check
» this wayif the wire hits first I canjust stop payment on the check.
»I
» know with the transactional funding it has to move quickly so I don't
» want
» any continued delays,

» I will send the tracking for the FedEx shortly.


» We have been in CE so email is best and I will call at my next break
>> to'
» follow up.

» --
>> Amy Rice
» Client Services
» File Management Department
» Office: 813-606-5058
» Fax: 877-471-2805
» Integrity Settlement Services
» Services@integirtysettlementservices.net

>>
» CONFIDENTIALITY NOTICE:
» The contents of this email message and any attachments are intended
» solely
» for the addressee(s) and may contain confidential and/or privileged

                                                                                   Exhibit C - 2
                       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 68 of 135
» information and may be legally protected from disclosure. If you are
>> not
» the intended recipient of this message or their agent, or if this
» message
» has been addressed to you in error, please immediately alert the
» sender
» by reply email and then delete this message and any attachments. If
» you
» are not the intended recipient, you are hereby notified that any use,
» dissemination, copying, or storage of this message or its attachments
>> is
» strictly prohibited.


» On Thu, January 11,2018 4:30 pm,Dustin Simmons wrote:

>» Amy,
>»
>»
>»
>» We have tried to call several times with no answer. Please provide
>>> the
>>> Fed Ref Number for the wire. We have checked Multiple times today
>» with
>>> State Bank and the Funds have not been received.
>»
>»
>»
>>> Please note that Lima One Capital will be closed on Monday January
>» 15,
>>> 2018.
>»
>»
>»
>>> Dustin Simmons
>>> Senior Operations Analyst
>» NMLS ID: 1337256
>»
>» P:864-546-4345 Ext 073
>» F:864-236-4875
>>> E-mat dustin@limaonecapitaLcom
>>> wwwiimaonecapitaLcom
>»
>>>     Original Message
>» From:Matthew Poole
>>> Sent: Thursday, January 11,2018 3:15 PM
>>> To: Client Services <services@integritysettlementservices.net>
>>> Cc:Dustin Simmons <dustin@limaonecapital.com>, Ross Coll
>>> <rcoll@limaonecapitaLcom>
>>> Subject: RE:[External] Re: Transactional Funding - 1564 Park Rd SE
>»
>»
>»
>>> We just checked and it has not hit our account. Fed Ref number?
>»
>»
>»
>»
>» Matthew Poole
>>> Deputy Director of Short Term Finance
>>> NMLS # 1423193
>»
>»
>»
>>> P:800-390-4212 Ext: 348
>» F:864-236-4872
>>> E-mall mpoole@limaonecapitaLcom

                                                                                   Exhibit C - 3
                       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 69 of 135
>>> www.limaonecapitaLcom
>»
>>>      Original Message
>>> From: Client Services
>>> [mallto:services@integriq/settlementservices.net]
>>> Sent: Thursday, January 11,2018 238 PM
>>> To: Matthew Poole <inpoole@limaonecapitaLcom>
>>> Cc: Client Services <services@integritysettlementservices.net>;
>» Dustin
>>> Simmons <dustin@limaonecapitalcom>; Ross Coll
>>> <rcoll@limaonecapitaLcom>
>>> Subject: RE:[External] Re: Transactional Funding - 1564 Park Rd SE
>»
>»
>»
>>> I just check and funds are with State Bank. Please check your
>>> account
>>> by end of day for the credit. Please let the wire department know
>>> not
>>> to reject the funds.
>»
>>> Amy Rice
>>> Client Services
>>> File Management Department
>>> Office: 813-606-5058
>>> Fax: 877-471-2805
>>> Integrity Settlement Services
>>> Services@integirtysettlementservices.net
>»
>»
>»
>>> CONFIDENTIALITY NOTICE:
>>> The contents of this email message and any attachments are intended
>>> solely for the addressee(s) and may contain confidential and/or
>>> privileged information and may be legally protected from disclosure.
>>> If
>>> you are not the intended recipient of this message or their agent,or
>»if
>>> this message has been addressed to you in error, please immediately
>>> alert the sender by reply email and then delete this message and any
>>> attachments. If you are not the intended recipient, you are hereby
>>> notified that any use,dissemination, copying, or storage of this
>>> message or its attachments is strictly prohibited.
>»
>»
>>> On Thu, January 11,2018 9:45 am,Matthew Poole wrote:
>»
>»
>>>> Just so you are aware,the wire has not hit our account yet.
>>»
>>»
>>»
>>»
>>»
>>>> Matthew Poole
>>>> Deputy Director of Short Term Finance
>>» NMLS # 1423193
>>»
>>»
>>»
>>»
>>» P:800-390-4212 Ext: 348
>>>> F: 864-236-4872
>>>> E-mail: mpoole@limaonecapitaLcom
>>>> www.limaonecapitaLcom
>>»
>>»        Original Message

                                                                                   Exhibit C - 4
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 70 of 135
>>>> From: Client Services
>>>> [Inailto:servicesQintegritysettletnentservices.net]
>>>> Sent: Thursday,January 11,2018 923 AM
>>>> To: Matthew Poole <mpoole@limaonecapitaLcom>
>>>> Cc:Client Services <services@integritysettlementservices.net>;
>>>> Dustin
>>>> Simmons <dustin@limaonecapitaLcom>; Ross Coll
>>>> <rcoll@limaonecapitalcom>
>>>> Subject: RE:[External] Re:Transactional Funding - 1564 Park Rd SE
>>»
>>»
>>»
>>»
>>>> The one on the instructions say:
>>»
>>»
>>»
>>»
>>>> 201 East McBee Ave Suite 300 Greenville, SC 29601. The bank address
»»I
>>>> know is correct.
>>»
>>>> On Thu,January 11, 2018 9:14 am, Matthew Poole wrote:
>>»
>>»
>>»
>>>>> Which address did you use?
>>>»
>>>»
>>>»
>>>»
>>>»
>>>»
>>>>> Matthew Poole
>>>>> Deputy Director of Short Term Finance
>>>>> NMLS # 1423193
>>>»
>>>»
>>>»
>>>»
>>>»
>>>>> P:800-390-4212 Ext: 348
>>>>> F:864-236-4872
>>>>> E-mail: mpoole@limaonecapitaLcom
>>>>> www.limaoriecapitaLcom
>>>»
>>>>>      Original Message
>>>>> From: Client Services
>»» [rnailto:services@integritysettlementservices.net]
>>>>> Sent:Thursday,January 11,2018.8:18 AM
>>>>> To: Matthew Poole <mpoole@limaonecapitaLcom>
>>>>> Cc:Client Services <services@integritysettlementservices.net>;
>>>>> Dustin
>>>>> Simmons <dustin@limaonecapitaLcom>; Ross Coll
>»» <rcoll@limaonecapitalcom>
>>>>> Subject: RE:[External] Re:Transactional Funding - 1564 Park Rd SE
>>>>> Importance: High
>>>»
>>>»
>>>»
>>>»
>>>»
>>>>> Yes this was completed at 430 yesterday. I will provided the new
>>>» Fed
>>>>> Number shortly and You should keep an eye out for it today.
>>>»
>>>»

                                                                                 Exhibit C - 5
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 71 of 135
>>>»
>>>»
>>>»
>>>>> Is the address on the instructions the same as the address on that
>>>>> account? I want to make sure I am using all the correct
>>>>> information
>>>>> that matches that account. For the first time sending a large
>>>>> wire from a trust account all things must match until we have a
>>>>> history of wiring to a particular private lender.
>>>»
>>>>> Wire Fraud is huge with Settlement and Escrow firms so we just
>>>>> always need to make sure everything is correct. Nonetheless the
>>>>> wire has left our account for 255,774.57.
>>>»
>>>» --
>>>>> Amy Rice
>>>>> Client Services
>>>>> File Management Department
>>>» Office: 813-606-5058
>>>>> Fax:877-471-2805
>>>>> Integrity Settlement Services
>>>>> Services@integirtysettlementservices.net
>>>»
>>>»
>>>»
>>>»
>>>»
>>>>> CONFIDENTIALITY NOTICE:
>>>>> The contents of this email message and any attachments are intended
>>>>> solely for the addressee(s) and may contain confidential and/or
>>>>> privileged information and may be legally protected from
>>>» disclosure. If
>>>>> you are not the intended recipient of this message or their agent,
>>>>> or if this message has been addressed to you in error, please
>>>>> immediately alert the sender by reply email and then delete this
>>>>> message and any attachments. If you are not the intended recipient,
>>>>> you are hereby notified that any use, dissemination, copying, or
>>>>> storage of this message or its attachments is strictly prohibited.
>>>»
>>>>> On Wed,January 10, 2018 5:08 pm,Matthew Poole wrote:
>>>»
>>>»
>>>»
>>>»
>>>>» Amy,
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>>> Per our conversation earlier, you said you were going to the bank
>>>>>> to initiate the wire to us for a second attempt. Can you confirm
>>>>>> if this has been done?
>>>>»
>>>>»
>>>>>> Matthew Poole
>>>>>> Deputy Director of Short Term Finance
>>>>>> NMLS # 1423193
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>>> P:800-390-4212 Ext: 348
>>>>» F:864-236-4872

                                                                                  Exhibit C - 6
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 72 of 135
>>>>>> E-mail mpoole@limaonecapitaLcom
>>>>>> www.limaonecapitalcom
>>>>»
>>>>»       Original Message
>>>>>> From: Client Services
>>>>>> [mailto:services@integritysettlementservices.net]
>>>>>> Sent: Wednesday,January 10, 2018 8:53 AM
>>>>>> To: Dustin Simmons <dustin@liinaonecapitaLcom>
>>>>>> Cc: Client Services <services@integritysettlementservices.net>;
>>>>>> Matthew
>>>>>> Poole <mpoole@limaonecapitaLcom>; Ross Coll
>>>>>> <rcoll@limaonecapitaLcom>
>>>>>> Subject: RE:[External] Re:Transactional Funding - 1564 Park Rd
>>>>» SE
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>>> When I inquired about your wire this is the message we got back.
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>» We've sent an important communication to your Secure Message
>>>>>> Center,
>>>>» available on Chase Online or on the Chase Mobile app.
>>>>»
>>>>» The subject is: Wire Payment Rejected
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>» You can sign in to review this communication in your Secure
>>>>» Message
>>>>» Center
>>>>» until 04/09/2018.
>>>>»
>>>>» Thank you for being a valued Chase customer.
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>>> Apparently your side did not accept our wire. I am not sure why
>>>>>> as we followed all instructions. I am going to send in my next
>>>>>> email the detail that use use in the body ofthe email.
>>>>»
>>>>>> Please advise as to how to proceed because you are waiting on a
>>>>>> wire that your company rejected. The funds are not back to us yet
>>>>>> but I am told that since the wire was rejected the funds will be
>>>>>> back within 24 hours.
>>>>»
>>>>>> Amy Rice
>>>>>> Client Services
>>>>>> File Management Department
>>>>>> Office: 813-606-5058
>>>>>> Fax: 877-471-2805
>>>>>> Integrity Settlement Services
>>>>>> Services@integirtysettlementservices.net
>>>>»

                                                                                  Exhibit C - 7
                       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 73 of 135
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>>>> CONFIDENTIALITY NOTICE:
>>>>>> The contents of this email message and any attachments are
>>>>>> intended solely for the addressee(s) and may contain confidential
>>>>>> and/or privileged information and may be legally protected from
>>>>>> disclosure. If you are not the intended recipient of this message
>>>>>> or their agent, or if this message has been addressed to you in
>>>>>> error, please immediately alert the sender by reply email and then
>>>>>> delete this message and any attachments. If you are not the
>>>>>> intended recipient, you are hereby notified that any use,
>>>>>> dissemination, copying, or storage of this message or its
>>>>>> attachments is strictly prohibited.
>>>>»
>>>>>> On Wed,January 10, 2018 8:45 am,Dustin Simmons wrote:
>>>>»
>>>>»
>>>>»
>>>>»
>>>>»
>>>»» Amy,
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>>> At this time, we have confirmed with our bank they have not
>>>>>>> received your wire. Attached are the wiring instructions the
>>>>>>> funds need to be sent to.
>>>>>»
>>>>>>> As you stated on the phone and in email yesterday aftemoon you
>>>>>>> were requesting the bank information. Please send that over
>>>>>>> for us to review as well.
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>>> Please note that Lima One Capital will be closed on Monday
>>>>>>> January
>>>»» 15,
>>>>>» 2018.
>>>>>»
>>>>>»
>>»»>
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>» Dustin Simmons
>>>>>>> Senior Operations Analyst
>>>>>» NMLS ID: 1337256
>>>>>»
>>>>>» P:864-546-4345 Ext 073
>>>>>» F: 864-236-4875
>>>>>>> E-mail: dustin@limaonecapitaLcom
>>>»» www.limaonecapital.com
>>>>>»
>>>>>»       Original Message
>>>»» From: Client Services
>>>>>>> [mailto:servicesQintegritysettlementservices.net]
>>>>>>> Sent: Tuesday,January 9,2018 4:52 PM
>>>>>>> To:Dustin Simmons <dustin@limaonecapitaLcom>

                                                                                   Exhibit C - 8
                       Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 74 of 135
>>>>>>> Cc: Client Services <services@integritysettlementservices.net>;
>>>>>» Matthew
>>>>>>> Poole <mpoole@limaonecapital.com>, Ross Coll
>>>>>>> <rcoll@litnaonecapitalcom>
>>>>>>> Subject: RE:[External] Re:Transactional Funding - 1564 Park Rd
>>>>>» SE
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>>> I have requested the bank information on the wire that shows
>>>>>>> exactly where it went, what time it went out,the amount,IMAD.
>>>>>>> and TRNS numbers. I usually get that within an hour of
>>>>>>> requesting it from the bank It will be a secured email I will
>>>>>>> download and forward to everyone.
>>>>>»
>>>>>>> I used the SC address as the address for the receipt on the
>>>>>>> wire. Is
>>>>>>> this the address that is on that account?
>>>>>»
>>>>>»
>>>>>» --
>>>>>>> Amy Rice
>>>>>>> Client Services
>>>>>>> File Management Department
>>>>>>> Office:813-606-5058
>>>>>» Fax: 877-471-2805
>>>>>>> Integrity Settlement Services
>>>>>>> Services@integirtysettlementservices.net
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>»
>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>> The contents of this email message and any attachments are
>>>>>>> intended solely for the addressee(s) and may contain
>>>>>>> confidential and/or privileged information and may be legally
>>>>>>> protected from disclosure. If you are not the intended recipient
>>>>>>> of this message or their agent,or if this message has been
>>>>>>> addressed to you in error, please immediately alert the sender
>>>>>>> by reply email and then delete this message and any attachments.
>>>>>>> If you are not the
>>>>>>> intended recipient, you are hereby notified that any use,
>>>>>>> dissemination, copying, or storage of this message or its
>>>>>>> attachments is strictly prohibited.
>>>>>»
>>>>>>> On Tue,January 9,2018 4:45 pm,Dustin Simmons wrote:
>>>>>»




                                                                                   Exhibit C - 9
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 75 of 135
 >>>>>>»
 >>>>>>>> Following up on our conversation just now on the phone.
 >>>>>>>> Please'
>>>>»» provide confirmation does froin where the wire has been sent.
 >>>>>>» At•
 >>>>>>>> this point we still have not received the funds back,of
>>>>>>>> $255,774.572
 >>>>>>»
 >>>>>>»
>>>>>>»
 >>>>>>»
 >>>>>>>> Please note that Lima One Capital will be closed on Monday
 >>>>>>>> January
>>>>»» IS,
>>>>»» 2018.
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>» Dustin Simmons
>>>>>>>> Senior Operations Analyst
>>»>>» NMLS ID: 1337256
>>>>>>»
>>>>»» P:864-546-4345 Ext 073
>>>>>>» F: 864-236-4875
>>>>>>>> E-mail dustin@limaonecapitalcom
>>>>>>>> www JimaonecapitaLcom
>>>>>>»
>>>>>>»        Original Message
>>>>>>>> From: Client Services
>>>>»» [mailto:services@integritysettlementservices.net]
>>>>>>» Sent: Tuesday,January 9,2018 427 PM
>>>>»» To: Matthew Poole <mpoole@limaonecapitaLcom>
>>>>>>>> Cc: Ross Coll <reoll@limaonecapitalcom>; Client Services
>>>>>>>> <services@integritysettlementservices.net>; Dustin Simmons
>>>>>>>> <dustin@limaonecapitalcorn>
>>>>>>>> Subject:RE:[External] Re:Transactional Funding - 1564 Park
>>>>»» Rd
>>>>»» SE
>>>>»» Importance: High
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>»» Al,
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>>>»
>>>>»» Please confum by end ofthe day that you have received your
>>>>»» wire. It is our policy that if a wire is not received within
>>>>»» 48
>>>>>>>> hours the wire must be recalled and a check must be FedEx.
>>>>>>»
>>>>>>>> We maintain excellent disbursement practices and want to

                                                                                Exhibit C - 10
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 76 of 135
 >>>>>>>> ensure all parties receive their funds timely.
 >>>>>>»
 >>>>>>»
 >>>>>>»
 >>>>>>>> On Tue,January 9,2018 10:07 am, Matthew Poole wrote:
 >>>>>>»
 >>>>>>»
 >>>>>>»
 >>>>>>»
 >>>>>>»
 >>>>>>»
 >>>>>>»
>>>>>»» Amy,
>>>>>>>»
 >>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>>> I need a Federal Reference number asap. Otherwise, we will
>>>>>>>>> require our wire to be returned.
>>>>>>>»
>>>>>>>»
>>>>>>>>> Matthew Poole
>>>>>>>>> Deputy Director of Short Term Finance
>>>>>>>» NMLS # 1423193
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>>> P:800-390-4212 Ext: 348
>>>>>»» F: 864-236-4872
>>>>>>>>> E-mail: mpoole@limaonecapitaLcom
>>>>>>>>> www.limaonecapita1.com
>>>>>>>»
>>>>>>>»      Original Message
>>>>>»» From:Ross Coll
>>>>>>>>> Sent: Tuesday,January 09,2018 10:02 AM
>>>>>>>» To:Client Services
>>>>>>>>> <services@integritysettlementservices.net>
>>>>>>>>> Cc:Dustin Simmons <dustin@limaonecapital.com>; Matthew
>>>>>>>» Poole
>>>>>>>» <rnpoole@limaonecapitaLcom>
>>>>>>>>> Subject: RE:[External] Re: Transactional Funding - 1564
>>>>>»» Park
>>>>>»» Rd
>>>>>»» SE
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>» Amy,
>>>>>>>>>
>>>>>>>>>

                                                                                Exhibit C - 11
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 77 of 135
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>>> At this point in time we do not have the wire nor the
>>>>>>>>> disbursement form with tracking info. Please send the
>>>>>>>» Federal
>>>>>>>>> tracking number for the wire.
>>>>>>>»
>>>>>>>»
>>>>>>>>> Please note that Lima One Capital will be closed on Monday
>>>>>>>» January
>>>>>»» 15,
>>>>>>>» 2018.
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>» Best,
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>»» Ross Coll
>>>>>>>>> Operations Analyst
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>>>»
>>>>>»» P:864-672-9069
>>>>>>>>> F: 864-289-7520
>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>» www.LimaOneCapitalcom
>>>>>>>»
>>>>>»»        Original Message
>>>>>»» From:Client Services
>>>>>»» [mailto:services@integitysettlementservices.net]
>>>>>>>>> Sent: Tuesday,January 9,2018 9:03 AM
>>>>>>>» To:Ross Coll <rcoll@limaonecapitalcom>
>>>>>>>>> Cc: Client Services
>>>>>>>>> <services@integritysettlementservices.net>;
>>>>>»» Dustin
>>>>>>>>> Simmons <clustin@limaonecapitaLcom>; Matthew Poole
>>>>>>>>> <mpoole@lirnaonecapitaLcom>
>>>>>>>>> Subject: RE:[External] Re: Transactional Funding - 1564
>>>>>»» Park
>>>>>>>» Rd
>>>>>»» SE
>>>>>>>»

                                                                                 Exhibit C - 12
E L - 03!q4x3
                                           anm aq; 103 19C1UMU 0009.191011 isiapad alp apyiaul assam <<<<<<*«.<
                                                                                                     «««««
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                                                        `asn Aus lutp pagnou AgaJaq ais no, `luald!aai <<<<<<<<<
                                         papung atp lou ale noA ji •sluatuqaung Atm pus asssatu sup <<<<<<<<<
                                           maw !imp pus putua Aida! Aq Japuas age gals Aiampaunu! <<<«<<<<
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     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 78 of 135
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>>>>>>>>>> Please note that Lima One Capital will be closed on
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>>>>>>>>>> Ross Coll
>>>>>>>>>> Operations Analyst
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>>>>>>>>» P:864-672-9069
>>>>>>>>» F: 864-289-7520
>>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>>>> wwvv.LimaOneCapitaLcom
>>>>>>>>»
>>>>>>>>>>     Original Message
>>>>>>>>» From: Ross Coll
>>>>>>>>>> Sent: Monday,January 8,2018 5:07 PM
>>>>>>>>>> To:'Client Services'
>>>>>>>>>> <services@integritysettlementservices.net>
>>>>>>>>>> Cc: Dustin Simmons <dustin@limaonecapitaLcom>
>>>>>>>>>> Subject: RE:[External] Re:Transactional Funding - 1564
>>>>>>>>» Park
>>>>>>»» Rd
>>>>>>>>» SE
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>>>>>>>>>> Please note that Lima One Capital will be closed on
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     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 81 of 135
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 82 of 135



             P:864-672-9069
             F: 864-289-7520
             E-mail: rcoll@limaonecapitaLcom
             www.LimaOneCapitalcom

>>>>>>>>»       Original Message
>>>>>>>>>> From: Client Services
>>>>>>>>>> [mailto:services@integritysettlementservices.net]
>>>>>>>>>>,Sent; Monday,January 8,2018 4:06 PM
>>>>>>>>>> To:Ross Coll <rcoll@limaonecapital.com>
>>>>>>>>>> Subject: RE:[External] Re:Transactional Funding - 1564
>>>>>>>>» Park
>>>>>>»» Rd
>>>>>>>>» SE
>>>>>>>>»
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>>>>>>>>>>1 received the funds and I am sending them back now.
>>>>>>>>» Please
>>>>>>>>> allow a few hours to receive them since it is after 4pm.
>>>>>>>>»
>>>>>>>>»
>>>>>>>>>> Amy Rice
>>>>>>>>>> Client Services
>>>>>>>>>> File Management Department
>>>>>>>>» Office: 813-606-5058
>>>>>>>>>> Fax: 877-471-2805
>>>>>>>>>> Integrity Settlement Services
>>>>>>>>» Services@integirtysettlementservices.net
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>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>» The contents of this email message and any attachments are
>>>>>>>>» intended solely for the addressee(s) and may contain
>>>>>>>>» confidential and/or privileged information and may be
>>>>>>>>» legally protected from disclosure. If you are not the
>>>>>>>>>> intended recipient of this message or their agent, or if
>>>>>>>>» this message has been addressed to you in error, please
>>>>>>>>» immediately alert the sender by reply email and then
>>>>>>>>>> delete this message and any attachments. If you are not
>>>>>>>>» the intended recipient, you are hereby notified that any
>>>>>>>>>> use,dissemination,copying,or storage of this message or
>>>>>>>>>> its attachments is strictly prohibited.
>>>>>>>>»
>>>>>>>>>> On Mon,January 8,2018 3:44 pm,Ross Coll wrote:
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                                                                                 Exhibit C - 17
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>>>>>>>>>>> Have you received our wire and if so,sent the return?
>>>>>>>>>>> Please
>>>>>>>>>» advise
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>>>>>>>>>>> Please note that Lima One Capital will be closed on
>>>>>>>>>» Monday
>>>>>>>>>» January
>>>>>>>»» 15,
>>>>>>>»» 2018.
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>>>>>>>>>>> Ross Coll
>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>> P:864-672-9069

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>>>>>>>>>>> F:864-289-7520
>>>>>>>>>>> E-mail: rcoll@limaonecapitalcom
>>>>>>>>>>> www.LimaOneCapitalcom
>>>>>>>>>»
>>>>>>>>>»       Original Message
>>>>>>>>>» From: Client Services
>>>>>>>>>>> [mailto:servicesaintegritysettlementservices.net]
>>>>>>>>>>> Sent: Monday, January 8,2018 1:54 PM
>>>>>>>>>>> To: Dustin Simmons <dustin@limaonecapitalcom>
>>>>>>>>>>> Cc:Ross Coll <rcoll@limaonecapitaLcom>; Client
>>>>>>>>>>> Services
>>>>>>>>>>> <services@integritysettlementservices.net>
>>>>>>>>>>> Subject: RE:[External] Re:Transactional Funding - 1564
>>>>>>>>>» Park
>>>>>>>»» Rd
>>>>>>>>>» SE
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>>>>>>>>>»
>>>>>>>>>>> I am waiting on your wire to arrive and that is the
>>>>>>>>>>> amount I will be sending back to the instructions
>>>>>>>>>>> provided.
>>>>>>>>>»
>>>>>>>>>» --
>>>>>>>»» Amy Rice
>>>>>>>>>>> Client Services
>>>>>>>>>>> File Management Department
>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>> Fax: 877-471-2805
>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>» Services@integirtysettlementservices.net
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>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>> The contents of this email message and any attachments
>>>>>>>>>>> are intended solely for the addressee(s) and may contain
>>>>>>>>>>> confidential and/or privileged information and may be
>>>>>>>>>>> legally protected from disclosure. If you are not the
>>>>>>>>>>> intended recipient of this message or their agent, or
>>>>>>>>>>> if this message has been addressed to you in error,
>>>>>>>>>>> please immediately alert the sender by reply email and
>>>>>>>>>>> then delete this message and any attachments. If you are
>>>>>>>>>>> not the intended recipient, you are hereby notified that
>>>>>>>>>>> any use, dissemination, copying, or storage of this
>>>>>>>>>>> message or its attachments is strictly prohibited.
>>>>>>>>>»
>>>>>>>>>>> On Mon,January 8,2018 I:28 pm,Dustin Simmons wrote:
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>>>>>>>>>>>> Attached are our closing instructions. The wire has
>>>>>>>>>>>> been requested. You should be receiving them shortly.
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>>>>>>>>>>>> Please note that Lima One Capital will be closed on
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>>>>>>>>>>» Ross Coll
>>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>» P: 864-672-9069
>>>>>>>>>>» F:864-289-7520
>>>>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>>»» www.LimaOneCapitaLcom
>>>>>>>>>>»
>>>>>>>>>>»       Original Message
>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>> [mailto:servicesaLntegritysettlementservices.net]
>>>>>>>>>>>> Sent: Monday,January 8,2018 11:03 AM
>>>>>>>>>>>> To: Dustin Simmons <dustin@limaonecapitaLcom>
>>>>>>>>>>>> Cc: Client Services
>>>>>>>>>>>> <services@integritysettlementservices.net>;
>>>>>>>>>>» Ross
>>>>>>>>>>>> Coll <rcoll@limaonecapitalcom>
>>>>>>>>>>>> Subject: RE:[External] Re: Transactional Funding -
»»»»»» 1564
>>>>>>>>>>» Park
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>>>>>>>>>>>> Can you confirm that the funds have been sent for
>>>>>>>>>>>> this transaction or where we stand?
>>>>>>>>>>»
>>>>>>>>>>»
>>>>>>>>>>» --
>>>>>>>>>>>> Amy Rice
>>>>>>>>>>>> Client Services
>>>>>>>>>>>> File Management Department
>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>> Services@integirtysettlementservices.net
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>>>>>>>>>>>> CONFIDENTIALITY NOTICE:
>>>>>>>>>>>> The contents of this email message and any attachments
>>>>>>>>>>>> are intended solely for the addressee(s) and may
>>>>>>>>>>>> contain confidential and/or privileged information and
>>>>>>>>>>>> may be legally protected from disclosure. If you are
>>>>>>>>>>>> not the intended recipient of this message or their
>>>>>>>>>>>> agent, or if this message has been addressed to you in
>>>>>>>>>>>> error, please immediately alert the sender by reply
>>>>>>>>>>>> email and then delete this message and any

                                                                                 Exhibit C - 22
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 88 of 135
 >>>>>>>>>>>> attachments. If you are not the intended recipient,
 >>>>>>>>>>>> you are hereby notified that any use, dissemination,
 >>>>>>>>>>>> copying,or storage of this message or its attachments
 >>>>>>>>>>» is strictly prohibited.
 >>>>>>>>>>»
 >>>>>>>>>>>> On Mon,January 8,2018 10:17 am,Dustin Simmons
 >>>>>>>>>>>> wrote:
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>>>>>>>>>>>» Amy,
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>>>>>>>>>>>>> Can you input 251.375.50 into line 303?
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>>>>>>>>>>>>> Please note that Lima One Capital will be closed on
>>>>>>>>>>>» Monday
>>>>>>>>>>>» January
>>>>>>>>>>>» 15,2018.
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>>>>>>>>>>>»
>>>>>>>>>>>>> Dustin Simmons
>>>>>>>>>>>>> Senior Operations Analyst
>>>>>>>>>>>» NMLS ID: 1337256
>>>>>>>>>>>»

                                                                                 Exhibit C - 23
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 89 of 135
>>>>>>>>>>>» P: 864-546-4345 Ext 073
>>>>>>>>>>>>> F:864-236-4875
>>>>>>>>>>>>> E-mail: dustin@limaonecapitaLcom
>>>>>>>>>>>>> www.limaonecapital.com
>>>>>>>>>>>»
>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>> [mailto:services@integritysettlementservices.net]
>>>>>>>>>>>>> Sent: Monday,January 8,2018 10:12 AM
>>>>>>>>>>>>> To: Dustin Simmons <dustin@limaonecapitalcom>
>>>>>>>>>>>>> Subject: RE:[External] Re: Transactional Funding -
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>>>>>>>>>>>» Park
>>>>>>>>>»» Rd
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>>>>>>>>>>>» --
>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>> Fax: 877-471-2805
>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>> Services@integirtysettlementservices.net
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>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>> attachments are intended solely for the addressee(s)
>>>>>>>>>>>>> and may contain confidential and/or privileged

                                                                                 Exhibit C - 24
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 90 of 135
>>>>>>>>>>>>> information and may be legally protected from
>>>>>>>>>>>>> disclosure. If you are not the intended recipient of
>>>>>>>>>>>>> this message or their agent, or if this message has
>>>>>>>>>>>>> been addressed to you in error, please immediately
>>>>>>>>>>>>> alert the sender by reply email and then delete this
>>>>>>>>>>>>> message and any attachments. If you are not the
>>>>>>>>>>>>> intended recipient, you are hereby notified that any
>>>>>>>>>>>>> use,dissemination, copying, or storage of this
>>>>>>>>>>>>> message or its attachments is strictly prohibited.
>>>>>>>>>>>»
>>>>>>>>>>>>> On Mon,January 8,2018 9:58 am,Dustin Simmons
>>>>>>>>>>>» wrote:
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
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>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>»
>>>>>>>>>>>>>> Amy,
>>>>>>>>>>>>>>
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>>>>>>>>>>>>>>
>>>>>>>>>>>>>> Thank you for speaking with me on the phone and
>>>>>>>>>>>>>> sending these changes over. I am sorry for the
>>>>>>>>>>>>>> back and forth on this but I have been advised
>>>>>>>>>>>>>> that we need line 202 deleted off the HUD. We will
>>>>>>>>>>>>>> wire the amount listed in Line 303 which should
>>>>>>>>>>>>>> total 251,375.50 at
>>>>>>>>>>>>>> that point.
>>>>>>>>>>>>>>
>>>>>>>>>>>>>> We have just changed our process on these so I
>>>>>>>>>>>>>> really do appreciate your patience!
>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>>> Please note that Lima One Capital will be closed
>>>>>>>>>>>>» on Monday
>>>>>>>>>>>>» January
>>>>>>>>>>>>>> 15,2018.
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                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 91 of 135
>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>>> Dustin Simmons
>>>>>>>>>>>>>> Senior Operations Analyst
>>>>>>>>>>>>» NMLS ID: 1337256
>>>>>>>>>>>>»
>>>>>>>>>>>>» P:864-546-4345 Ext 073
>>>>>>>>>>>>» F: 864-236-4875
>>>>>>>>>>>>>> E-mail: dustin@lirnaonecapitalcom
>>>>>>>>>>>>» wwvv.linmonecapitalcom
>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>>>      Original Message
>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>> [mailto:services@integritysettlementservices.net]
>>>>>>>>>>>>>> Sent: Monday,January 8,2018 9:42 AM
>>>>>>>>>>>>>> To:Ross Coll <rcoll@limaonecapitalcorn>
>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional Funding
>>>>>>>>>>>>» -
»»»»»»» 1564
>>>>>>>>>>>>» Park
>>>>>>>>>>»» Rd
»»»»»»»SE
>>>>>>>>>>>>»
>>>>>>>>>>>>»
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>>>>>>>>>>>>»
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>>>>>>>>>>>>»
>>>>>>>>>>>>»
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>>>>>>>>>>>>»
>>>>>>>>>>>>»
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>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>>> Please find the attached correction. I am
>>>>>>>>>>>>>> assuming you are either in the office or the
>>>>>>>>>>>>>> gentlemen I just spoke with has access to your
>>>>>>>>>>>>>> email. Please see the attache HUD correction. I am
>>>>>>>>>>>>>> awaiting further instructions regarding the wire
>>>>>>>>>>>>>> and return wiring instructions.
>>>>>>>>>>>>»
>>>>>>>>>>>>» --
>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>» Fax: 877-471-2805
>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>> Services@integirtysettlementservices.net
>>>>>>>>>>>>»
>>>>>>>>>>>>»
>>>>>>>>>>>>»
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                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 92 of 135
>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>>> attachments are intended solely for the
>>>>>>>>>>>>>> addressee(s) and may contain confidential and/or
>>>>>>>>>>>>>> privileged information and may be legally
>>>>>>>>>>>>>> protected from disclosure. If you are not the
>>>>>>>>>>>>>> intended recipient of this message or their agent,
>>>>>>>>>>>>>> or if this message has been addressed to you in
>>>>>>>>>>>>>> error, please immediately alert the sender by
>>>>>>>>>>>>>> reply email and then delete this message and any
>>>>>>>>>>>>>> attachments. If you are not the intended
>>>>>>>>>>>>>> recipient, you are hereby notified that any use,
>>>>>>>>>>>>>> dissemination,copying,or storage of this message
>>>>>>>>>>>>>> or its attachments is strictly prohibited.
>>>>>>>>>>>>»
>>>>>>>>>>>>>> On Fri, January 5,2018 5:51 pm,Ross Coll wrote:
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>>>>>>>>>>>>»
>>>>>>>>>>>»» Amy,
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>>> I just tried calling. I hope this reaches you
>>>>>>>>>>>>>>> before you leave the office. The A-B HUD,if you
>>>>>>>>>>>>>>> could, either delete line item 202. OR have
>>>>>>>>>>>»» line 202
>>>>>>>>>>>>>>> state $251,375.50. As we will be paying the
>>>>>>>>>>>>>>> total price which will allow the buyer to regain
>>>>>>>>>>>>>» their deposit.
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>>> Thank you, please let me know if you have any
>>>>>>>>>>>»» questions.
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                                                                                Exhibit C - 27
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>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>» Ross Coll
>>>>>>>>>>>>>>> Operations Analyst
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>» P:864-672-9069
>>>>>>>>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapitalcom
>>>>>>>>>>>>>>> vvww,LimaOneCapital.coru
>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>     Original Message
>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>> [mailto:services@integritysettlementservices.net
>>>>>>>>>>>»»
>>>>>>>>>>>>>>> Sent: Friday,January 5,2018 12:09 PM
>>>>>>>>>>>>>>> To: Ross Coll <reoll@limaonecapitaLcom>
>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>»» Funding
>>>>>>>>>>>>>» -
»»»»»»»> 1564
>>>>>>>>>>>>>» Park
>>>>>>>>>>>>>» Rd
>>>>>>>>>>>»» SE
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>> Perfect. Everything is scheduled now for

                                                                                 Exhibit C - 28
                      Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 94 of 135
>>>>>>>>>>>»» Monday
>>>>>>>>>>>>>>> and I will let you know once the wire is
>>>>>>>>>>>>>>> received.
>>>>>>>>>>>>>»
>>>>>>>>>>>>>» --
>>>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>> Services@integirtysettlementservices.net
>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>>> CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>>>> attachments are intended solely for the
>>>>>>>>>>>>>>> addressee(s) and may contain confidential
>>>>>>>>>>>>>>> and/or privileged information and may be legally
>>>>>>>>>>>>>>> protected from disclosure. If you are not the
>>>>>>>>>>>>>>> intended recipient of this message or their
>>>>>>>>>>>>>>> agent,or if this message has been addressed to
>>>>>>>>>>>>>>> you in error, please immediately alert the
>>>>>>>>>>>>>>> sender by reply email and then delete this
>>>>>>>>>>>>>>> message and any attachments. If you are not the
>>>>>>>>>>>>>>> intended recipient, you are hereby notified that
>>>>>>>>>>>>>>> any use, dissemination, copying,or storage of
>>>>>>>>>>>>>>> this message or its attachments is strictly
>>>>>>>>>>>>>>> prohibited.
>>>>>>>>>>>>>»
>>>>>>>>>>>>>>> On Fri, January 5,2018 12:02 pm,Ross Coll
>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
>>>>>>>>>>>>>»
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>>>>>>>>>>>>»» Amy,
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 >>>>>>>>>>>>>>>> I received word that funding cannot take
 >>>>>>>>>>>>>>>> place today, but will occur on Monday 01/08.
 >>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>> Ross Coll
>>>>>>>>>>>>>>>> Operations Analyst
>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>»» P:864-672-9069
>>>>>>>>>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>>>>>>>>>> www LimaOneCapitaLcom
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>      Original Message
>>>>>>>>>>>>>>» From:Ross Coll
>>>>>>>>>>>>>>>> Sent: Friday, January 5,2018 11:20 AM
>>>>>>>>>>>>»» To: Client Services
>>>>>>>>>>>>>>>> ervices@integritysettlementservices.net>
>>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>» -
»»»»»»»» 1564
>>>>>>>>>>>>»» Park Rd
>>>>>>>>>>>>»» SE
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»

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 >>>>>>>>>>>>>>>> Amy,
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>>>>>>>>>>>>>>>>
>>>>>>>>>>>>>>>> It is currently under review I will provide
>>>>>>>>>>>>>>>> you with an update as soon as I receive word.
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>>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>>>> Ross Coll
>>>>>>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>>>>>» P:864-672-9069
>>>>>>>>>>>>>>» F: 864289-7520
>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>>>>>>>>>> www.LitnaOneCapital.cora
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>>> [mailto:services@integritysettlementservices.n
>>>>>>>>>>>>>>» et]
>>>>>>>>>>>>>>>> Sent: Friday, January 5, 2018 11:14 AM
>>>>>>>>>>>>>>>> To: Ross Coll <rcoll@limaonecapitaLcorn>
>>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>»
>>>>>>>>>>>>»» 1564
>>>>>>>>>>>>>>» Park
>>>>>>>>>>>>>>» Rd
»»»»»»»»SE
>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>> Sorry to bother. Since closing was scheduled
>>>>>>>>>>>>>>>> for this morning I have everyone waiting to
>>>>>>>>>>>>>>>> now if this is approved. Please let me know
>>>>>>>>>>>>>>>> that all is good and we can move forward.
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>>» Client Services
>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>> Services@integirtysettlementservices.net
>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:

                                                                                Exhibit C - 32
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 98 of 135
>>>>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>>>>> attachments are intended solely for the
>>>>>>>>>>>>>>>> addressee(s) and may contain confidential
>>>>>>>>>>>>>>>> and/or privileged information and may be
>>>>>>>>>>>>>>>> legally protected from disclosure. If you are
>>>>>>>>>>>>>>>> not the intended recipient of this message or
>>>>>>>>>>>>>>>> their agent,or if this message has been
>>>>>>>>>>>>>>>> addressed to you in error, please immediately
>>>>>>>>>>>>>>>> alert the sender by reply email and then
>>>>>>>>>>>>>>>> delete this message and any attachments. If
>>>>>>>>>>>>>>>> you are not the intended recipient, you are
>>>>>>>>>>>>>>>> hereby notified that any use, dissemination,
>>>>>>>>>>>>>>>> copying, or storage of this message or its
>>>>>>>>>>>>>>>> attachments is strictly prohibited.
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>> On Fri, January 5, 2018 9:12 am,Ross Coll
>>>>>>>>>>>>>>» wrote:
>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>> We are having a difficult time approving
>>>>>>>>>>>>>>>>> the file right now. Without the EO/Wire
>>>>>>>>>>>>>>>>> instructions matching your office we will
>>>>>>>>>>>>>>>>> need further verification that it is in fact
>>>>>>>>>>>>>>>>> you who is receiving/sending the wire.
>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>» Ross Coll
>>>>>>>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>>>>>>»

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>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>»» p: 864-672-9069
>>>>>>>>>>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapital.com
>>>>>>>>>>>>>>>>> www.LimaOneCapital.com
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>     Original Message
>>>>>>>>>>>>>>>» From:Ross Coll
>>>>>>>>>>>>>>>>> Sent: Friday, January 5,2018 9:01 AM
>>>>>>>>>>>>>>>>> To: Client Services
>>>>>>>>>>>>>>>>> <services@integritysettlementservices.net>
>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>» -
»»»»»»»»> 1564
>>>>>>>>>>>>>>>» Park
>>>>>>>>>>>>>>>» Rd SE
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>>>>>>>>>>>>>>>>> Amy,
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>>>>>>>>>>>>>>>>> We understand, but it appears that your
>>>>>>>>>>>>>>>>> office is located in Tampa.

                                                                                Exhibit C - 34
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>>>>>>>>>>>>>>>» Ross Coll
>>>>>>>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>»» p: 864-672-9069
>>>>>>>>>>>>>»» F: 864-289-7520
>>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapital.com
>>>>>>>>>>>>>>>» vvvvw,LimaOneCapitaLcow
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>      Original Message
>>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>>>> [mailto:services@integritysettlementservices
>>>>>>>>>>>>>>>» .n
>>>>>>>>>>>>>>>>> et]Sent: Friday, January 5,2018 8:04 AM
>>>>>>>>>>>>>>>>> To: Ross Coll <rcoll@limaonecapitalcom>
>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>» -
»»»»»»»»> 1564
>>>>>>>>>>>>>>>» Park Rd
>>>>>>>>>>>>>»» SE

                                                                                 Exhibit C - 35
                     Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 101 of 135
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>>>>>>>>>>>>>>>» Good Morning,
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>>>>>>>>>>>>>>>>> Georgia is an attorney state so this is our
>>>>>>>>>>>>>>>» Attorney's
>>>>>>>>>>>>>>>>> account. It is still us.
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>>>>» Client Services
>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>> Services@integirtysettlementservices.net
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>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>>>>>> attachments are intended solely for the

                                                                                 Exhibit C - 36
                    Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 102 of 135
 >>>>>>>>>>>>>>>>> addressee(s) and may contain confidential
 >>>>>>>>>>>>>>>>> and/or privileged information and may be
 >>>>>>>>>>>>>>>>> legally protected from disclosure. If you
 >>>>>>>>>>>>>>>>> are not the intended recipient of this
 >>>>>>>>>>>>>>>>> message or their agent, or if this message
 >>>>>>>>>>>>>>>>> has been addressed to you in error, please
 >>>>>>>>>>>>>>>>> immediately alert the sender by reply email
 >>>>>>>>>>>>>>>>> and then delete this message and any
 >>>>>>>>>>>>>>>>> attachments. If you are not the intended
 >>>>>>>>>>>>>>>>> recipient, you are hereby notified that any
 >>>>>>>>>>>>>>>>> use,dissemination, copying,or storage of
 >>>>>>>>>>>>>>>>> this message or its attachments is strictly
 >>>>>>>>>>>>>»» prohibited.
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>>> On Thu,January 4,2018 533 pm,Ross Coll
 >>>>>>>>>>>>>>>» wrote:
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>»»»
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>»
 >>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>>» Amy,
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>>>>>>>>>>>>>>>>>> The EO policy and Wiring instructions you
>>>>>>>>>>>>>>>>>> had sent is for PC Law Associates. It
>>>>>>>>>>>>>>>>>> does not match Integrity Settlement
>>>>>>>>>>>>>>>>» Services.
>>>>>>>>>>>>>>>>» Please
>>>>>>>>>>>>>>>>» advise.
>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>» Best,
>>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>>>> Ross Coll
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>>>>>>>>>>>>>>>>» P:864-672-9069
>>>>>>>>»>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>>>>> E-mail rcoll@limaonecapitalcom
>>>>>>>>>>>>>>>>>> www.LinaOneCapitalcon}
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>>>>>>>>>>>>>>>>>>     Original Message
>>>>>>>>>>>>>>>>» From: Ross Coll
>>>>>>>>>>>>>>>>>> Sent: Thursday, January 4,2018 2:44 PM
>>>>>>>>>>>>>>>>>> To: Client Services
>>>>>>>>>>>>>>>>>> <services@integritysettlementservices.net>
>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>> Transactional
>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>» -
»»»»»»»»» 1564
>>>>>>>>>>>>>>>>» Park
>>>>>>>>>>>>>>»» Rd SE
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>>>>>>>>>>>>>>»» Will do Amy.
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>>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>»» P:864-672-9069
>>>>>>>>>>>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapitaLcom
>>>>>>>>>>>>>>>>>> www.LimaOneCapitaLcom

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>>>>>>>>>>>>>>>>>>      Original Message
>>>>>>>>>>>>>>>>>> From: Client Services
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>>>>>>>>>>>>>>>>» es .n
>>>>>>>>>>>>>>>>» et]Sent: Thursday,January 4,2018 2:40
  >>>>>>>>>»»>>> PM
>>>>>>>>>>>>>>>>>> To: Ross Coll <reoll@limaonecapitaLcom>
>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:Transactional
>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>» -
»»»»»»»»» 1564
>>>>>>>>>>>>>>>>» Park
>>>>>>>>>>>>>>»» Rd SE
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>>>>>>>>>>>>>>»»'
>>>>>>>>>>>>>>>>>> Funds have been received for this file.
>>>>>>>>>>>>>>>>» Please
>>>>>>>>>>>>>>>>>> send me confmnation once your wire goes
>>>>>>>>>>>>>>>>» out.,
>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>» File Management Department
>>>>>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>>>>>>> Fax:877-471-2805
>>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>» Services@integirtysettlementservices.net
>>>>>>>>>>>>>>>>»

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>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>> The contents of this email message and any
>>>>>>>>>>>>>>>>>> attachments are intended solely for the
>>>>>>>>>>>>>>>>>> addressee(s) and may contain confidential
>>>>>>>>>>>>>>>>>> and/or privileged information and may be
>>>>>>>>>>>>>>>>>> legally protected from disclosure. If
>>>>>>>>>>>>>>>>>> you are not the intended recipient of this
>>>>>>>>>>>>>>>>>> message or their agent,or if this
>>>>>>>>>>>>>>>>>> message has been addressed to you in
>>>>>>>>>>>>>>>>>> error, please immediately alert the sender
>>>>>>>>>>>>>>>>>> by reply email and then delete this
>>>>>>>>>>>>>>>>>> message and any attachments. If you are
>>>>>>>>>>>>>>>>>> not the intended recipient, you are hereby
>>>>>>>>>>>>>>>>>> notified that any use, dissemination,
>>>>>>>>>>>>>>>>>> copying, or storage of this message or its
>>>>>>>>>>>>>>>>>> attachments is strictly prohibited.
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>>>>>>>>>>>>>>>>» On Thu,January 4,2018 2:06 pm,Ross
>>>>>>>>>>>>>>»» Coll
>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>» Thank you Amy.
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>>>>>>>>>>>>>>>»» P:864-672-9069
>>>>>>>>>>>>>>>>>» F:864-289-7520
>>>>>>>>>>>>>>>>>>> E-mail rcoll@Tmmaonecapital.com
>>>>>>>>>>>>>>>>>>> www.Lima0neCapita com
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>>>>>>>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>>>>>>» From:Client Services
>>>>>>>>>>>>>>>>>>> [mailtmervices@integritysettlementserv.
>>>>>>>>>>>>>>>>>>> is es .n et]Sent: Thursday,January 4,
>>>>>>>>>>>>>>>»» 2018 1:42
>>>>>>>>>>>>>>>>>>> PM
>>>>>>>>>>>>>>>>>>> To: Ross Coll <rcoll@liniaonecapitalcom>
>>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>>> Transactional
>>>>>>>>>>>>>>>>>» Funding

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>>>>>>>>>>>>>>>>>>> Their funds are being wired into to
>>>>>>>>>>>>>>>>>>> escrow today. I will let you know when
>>>>>>>>>>>>>>>>>>> we receive them which should be within
>>>>>>>>>>>>>>>>>>> the hour. Please see the HUD with the
>>>>>>>>>>>>>>>>>>> attached corrections.
>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>>>>>» Client Services
>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>» Office:813-606-5058 '
>>>>>>>>>>>>>>>>>» Fax: 877-471-2805
>>>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>>>> Services@integirtysettlementservices.net
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>>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>>> The contents of this email message and
>>>>>>>>>>>>>>>>>» any attachments are intended solely for
>>>>>>>>>>>>>>>>>>> the addressee(s) and may contain
>>>>>>>>>>>>>>>>>» confidential and/or privileged
>>>>>>>>>>>>>>>>>>> information and may be legally protected
>>>>>>>>>>>>>>>>>>> from disclosure. If you are not the
>>>>>>>>>>>>>>>>>>> intended recipient of this message or
>>>>>>>>>>>>>>>>>>> their agent,or if this message has been
>>>>>>>>>>>>>>>>>» addressed to you in error, please
>>>>>>>>>>>>>>>>>>> immediately alert the sender by reply

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                   Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 109 of 135
>>>>>>>>>>>>>>>>>>> email and then delete this message and
>>>>>>>>>>>>>>>>>>> any attachments. If you are not the
>>>>>>>>>>>>>>>>>>> intended recipient, you are hereby
>>>>>>>>>>>>>>>>>>> notified that any use, dissemination,
>>>>>>>>>>>>>>>>>>> copying, or storage of this message or
>>>>>>>>>>>>>>>>>>> its attachments is strictly prohibited.
>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>> On Thu,January 4,2018 12:56 pm,Ross
>>>>>>>>>>>>>>>»» cell
>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>» Thank you. On the B-C HUD the pay-off
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>>>>>>>>>>>>>>>>>>» Capital
>>>>>>>>>>>>>>>>>>» should be in the amount of
>>>>>>>>>>>>>>>>»» $255,774.57.
>>>>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>>>>>> At this time have you received the
>>>>>>>>>>>>>>>>>>>> end buyers funds?
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                   Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 110 of 135
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>>>>>>>>>>>>>>>>>>>> As a reminder, we wffi not fund
>>>>>>>>>>>>>>>>>>>> unless we have verification that you
>>>>>>>>>>>>>>>>»» have received the end buyers funds. We
>>>>>>>>>>>>>>>>>>>> also require that we receive our wire,
  >>>>>>>>>>>>>>>>>> back the same business day. Please'
>>>>>>>>>>>>>>>>>>» confirm,
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>» I will be forwarding over our wire
>>>>>>>>>>>>>>>>>>>> instructions once we have
>>>>>>>>>>>>>>>>>>» confirmation.
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>>>>>>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>>>>»» Ross Coll
>>>>>>>>>>>>>>>>>>» Operations Analyst
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>>>>>>>>>>>>>>>>>>» P:864-672-9069
>>>>>>>>>>>>>>>>>>» F: 864-289-7520
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>>>>>>>>>>>>>>>>>>>> www.LimaOneCapitalcom
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>>>>>>>>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>>>>>>>» From: Client Services

                                                                               Exhibit C - 45
                    Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 111 of 135
 >>>>>>>>>>>>>>>>>>>> [mailto:services@integitysettlementse
>>>>>>>>>>>>>>>>>>>> ry is es .n et]Sent: Thursday,
>>>>>>>>>>>>>>>>>>» January 4,
>>>>>>>>>>>>>>>>»» 2018 10:25
»»»»»»»»»» AM
>>>>>>>>>>>>>>>>>>>> To: Ross Coll
>>>>>>>>>>>>>>>>>>>> <rcoll@limaonecapitaLcom>
>>>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>>>> Transactional
>>>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>>>» -
>>>>>>>>>>>>>>>>»» 1564 Park
>>>>>>>>>>>>>>>>»» Rd SE
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>>>>>>>>>>>>>>>>>>>> Here is our attorney wiring
>>>>>>>>>>>>>>>>>>>> instructions. Please let me know that
>>>>>>>>>>>>>>>>>>>> you now have everything you need and
>>>>>>>>>>>>>>>>>>>> that the file has been approved to
>>>>>>>>>>>>>>>>»» fund.
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>» --
>>>>>>>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>>>> Office: 813-606-5058

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                    Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 112 of 135
>>>>>>>>>>>>>>>>>>» Fax: 877-471-2805
>>>>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>>>>> Services@integirtysettlementservices.n
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>>>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>>>> The contents of this email message and
>>>>>>>>>>>>>>>>>>>> any attachments are intended solely
>>>>>>>>>>>>>>>>>>>> for the addressee(s) and may contain
>>>>>>>>>>>>>>>>>>>> confidential and/or privileged
>>>>>>>>>>>>>>>>>>>> information and may be legally
>>>>>>>>>>>>>>>>>>>> protected from disclosure. If you are
>>>>>>>>>>>>>>>>>>>> not the intended recipient of this
>>>>>>>>>>>>>>>>>>>> message or their agent,or if this
>>>>>>>>>>>>>>>>>>>> message has been addressed to you in
>>>>>>>>>>>>>>>>>>>> error, please immediately alert the
>>>>>>>>>>>>>>>>>>>> sender by reply email and then delete
>>>>>>>>>>>>>>>>>>>> this message and any attachments. If
>>>>>>>>>>>>>>>>>>>> you are not the intended recipient,
>>>>>>>>>>>>>>>>>>>> you are hereby notified that any use,
>>>>>>>>>>>>>>>>>>>> dissemination, copying, or storage of
>>>>>>>>>>>>>>>>>>>> this message or its attachments is
>>>>>>>>>>>>>>>>>>» strictly prohibited.
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>> On Wed,January 3,2018 4:34 pm,Ross
>>>>>>>>>>>>>>>>»» Coll
>>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>>» Amy,
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>>>>>>>>>>>>>>>>>>>>> No problem. I know you stated that
>>>>>>>>>>>>>>>>>>>>> you will be sending the CPL,but
>>>>>>>>>>>>>>>>>>>>> please don't forget the wire
>>>>>>>>>>>>>>>>>>>» instructions and updated HUDs.
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>>>>>>>>>>>>>>>>>>>» Best,
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>>>>>>>>>>>>>>>>>>>>> P: 864-672-9069
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>>>>>>>>>>>>>>>>>>>>> E-mail: rcoll@lirnaonecapitalcom
>>>>>>>>>>>>>>>>>>>>>    www.LimaOneCapital com
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>>>>>>>>>>>>>>>>>>>>>     Original Message
>>>>>>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>»»>>>»» [mailto:services@integritysettlement
>>>>>>>>>>>>>>>>>>>>> se ry is es .n et]Sent: Wednesday,
>>>>>>>>>>>>>>>>>>>» January 3,
>>>>>>>>>>>>>>>>>»» 2018 432
>>>>>>>>>>>>>>>>>>>» PM
>>>>>>>>>>>>>>>>>>>» To:Ross Coll
>>>>>>>>>>>>>>>>>>>>> <rcoll@liinaonecapitaLcom>
>>>>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>>>>> Transactional
>>>>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>>>>» -
»»»»»»»»»»> 1564 Park
>>>>>>>>>>>>>>>>>»» Rd SE
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>>>>>>>>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>>>>>>» Integrity Settlement Services
>>>>>>>>>>>>>>>>>>>>> Services@integirtysettlementservices
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>>>>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>>>>> The contents of this email message
>>>>>>>>>>>>>>>>>>>>> and any attachments are intended
>>>>>>>>>>>>>>>>>>>>> solely for the addressee(s) and may
>>>>>>>>>>>>>>>>>>>>> contain confidential and/or
>>>>>>>>>>>>>>>>>>>» privileged information and may be
>>>>>>>>>>>>>>>>>>>>> legally protected from disclosure.
>>>>>>>>>>>>>>>>>>>» If you are
>>>>>>>>>>>>>>>>>>>>> not the intended recipient of this
>>>>>>>>>>>>>>>>>>>>> message or their agent,or if this
>>>>>>>>>>>>>>>>>>>>> message has been addressed to you
>>>>>>>>>>>>>>>>>>>>> in error, please immediately alert
>>>>>>>>>>>>>>>>>>>>> the sender by reply email and then
>>>>>>>>>>>>>>>>>>>>> delete this message and any
>>>>>>>>>>>>>>>>>>>>> attachments. If you are not the
>>>>>>>>>>>>>>>>>>>>> intended recipient, you are hereby
>>>>>>>>>>>>>>>>>>>>> notified that any use,
>>>>>>>>>>>>>>>>>>>>> dissemination, copying,or storage
>>>>>>>>>>>>>>>>>>>>> of this message or its attachments
>>>>>>>>>>>>>>>>>>>» is strictly prohibited.
>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>> On Wed,January 3,2018 1:51 pm,
>>>>>>>>>>>>>>>>>»» Ross
>>>>>>>>>>>>>>>>>>>» Coll
>>>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>>>>> On our end,the       documents(HUDs,
>>>>>>>>>>>>>>>>>>>>>> EO,
>>>>>>>>>>>>>>>>>>>>>> etc.) need to be     reviewed and
>>>>>>>>>>>>>>>>>>>>>> approved for funding atleast 24
>>>>>>>>>>>>>>>>>>>>>> hours      prior to the settlement
>>>>>>>>>>>>>>>>>>>>>> date.
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>>>>>>>>>>>>>>>>>>>>>>    Best,
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>>>>>>>>>>>>>>>>>>»» Ross Coll
>>>>>>>>>>>>>>>>>>>>>> Operations Analyst
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>>>>>>>>>>>>>>>>>>>>>> E-mail: rcoll@limaonecapitalcom
>>>>>>>>>>>>>>>>>>>>>> www LimaOneCapitaLcom
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>>>>>>>>>>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>>>>>>>>> [mailto:services@integritysettleme
>>>>>>>>>>>>>>>>>>>>>> nt se ry is es .n et]Sent:
>>>>>>>>>>>>>>>>>>>>» Wednesday,
>>>>>>>>>>>>>>>>>>>>» January 3,
>>>>>>>>>>>>>>>>>>»» 2018 107
>>>>>>>>>>>>>>>>>>»» PM
>>>>>>>>>>>>>>>>>>»» To: Ross Coll
>>>>>>>>>>>>>>>>>>>>>> <rcoll@limaonecapitalcom>
>>>>>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>>>>» Transactional
>>>>>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>>>>>» -
»»»»»»»»»»» 1564 Park
>>>>>>>>>>>>>>>>>>»» Rd SE
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>>>>>>>>>>>>>>>>>>>>>> I will make the corrections now.
>>>>>>>>>>>>>>>>>>>>» Please
>>>>>>>>>>>>>>>>>>>>» assist me in understanding your
>>>>>>>>>>>>>>>>>>>>» process.
>>>>>>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>>>>>>» What documents will need to be
>>>>>>>>>>>>>>>>>>>>» approved?
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>>>>>>>>>>>>>>>>>>>>>> I need to communicate with all
>>>>>>>>>>>>>>>>>>>>>> parties regarding this file. The
>>>>>>>>>>>>>>>>>>>>>> date seems to keep changing.
>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>» Amy Rice
>>>>>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>>>>» Office:813-606-5058
>>>>>>>>>>>>>>>>>>>>>> Fax:877-471-2805
>>>>>>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>>>>>>> Services@integirtysettlementservic
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>>>>>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>>>>» The contents of this email message
>>>>>>>>>>>>>>>>>>>>>> and any attachments are intended
>>>>>>>>>>>>>>>>>>>>>> solely for the addressee(s) and
>>>>>>>>>>>>>>>>>>>>>> may contain confidential and/or
>>>>>>>>>>>>>>>>>>>>>> privileged information and may be
>>>>>>>>>>>>>>>>>>>>>> legally protected from
>>>>>>>>>>>>>>>>>>>>>> disclosure. If you are
>>>>>>>>>>>>>>>>>>>>» not the intended recipient of this
>>>>>>>>>>>>>>>>>>>>>> message or their agent, or if
>>>>>>>>>>>>>>>>>>>>>> this message has been addressed to
>>>>>>>>>>>>>>>>>>>>>> you in error, please immediately
>>>>>>>>>>>>>>>>>>>>>> alert the sender by reply email
>>>>>>>>>>>>>>>>>>>>>> and then delete this message and
>>>>>>>>>>>>>>>>>>>>>> any attachments. If you are not
>>>>>>>>>>>>>>>>>>>>>> the intended recipient, you are
>>>>>>>>>>>>>>>>>>>>>> hereby notified that any use,
>>>>>>>>>>>>>>>>>>>>>> dissemination, copying, or
>>>>>>>>>>>>>>>>>>>>>> storage of this message or its
>>>>>>>>>>>>>>>>>>>>>> attachments is strictly
>>>>>>>>>>>>>>>>>>>>» prohibited.
>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>»
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>>>>>>>>>>>>>>>>>>>>>> On Wed,January 3,2018 12:35 pm,
>>>>>>>>>>>>>>>>>>»» Ross
>>>>>>>>>>>>>>>>>>»» Coll
>>>>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>>>>>> Broker invoice attached. I have
>>>>>>>>>>>>>>>>>>>>>>> asked the broker to supply
>>>>>>>>>>>>>>>>>>>>>>> their last name. Also please see
>>>>>>>>>>>>>>>>>>>>>>> our Mortgagee Clause
>>>>>>>>>>>>>>>>>>>>>» attached.
>>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>»» HUD:
>>>>>>>>>>>>>>>>>>>>>» - my apologies, we will be
>>>>>>>>>>>>>>>>>>>»» funding $251,375.50
>>>>>>>>>>>>>>>>>>>>>>> - Pay-off, made out to Lima One
>>>>>>>>>>>>>>>>>>>>>» Capital
>>>>>>>>>>>>>>>>>>>»» will be $251,375.50 * 1.0175
>>>>>>>>>>>>>>>>>>>»» $255,774.57
>>>>>>>>>>>>>>>>>>>>>>> - Note: we will not be able to
>>>>>>>>>>>>>>>>>>>>>>> fund tomorrow. The file once
>>>>>>>>>>>>>>>>>>>>>>> finalized needs to be reviewed
>>>>>>>>>>>>>>>>>>>>>>> and approved. We could possibly
>>>>>>>>>>>>>>>>>>>>>» close Friday 01/05.
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>>>>>>>>>>>>>>>>>>>>>>> Please send your wiring
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>>>>>>>>>>>>>>>>>>>>>>> As a side note, the end buyer's
>>>>>>>>>>>>>>>>>>>>>>> funds must be received and
>>>>>>>>>>>>>>>>>>>>>>> verified by you before we will
>>>>>>>>>>>>>>>>>>>»» fund.
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>>>>>>>>>>>>>>>>>>>»» Thanks, Amy.
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>>>>>>>>>>>>>>>>>>>>>» F: 864-289-7520
>>>>>>>>>>>>>>>>>>>>>>> E-mail rcoll@limaonecapital.com
>>>>>>>>>>>>>>>>>>>>>» www.LimaOneCapitalcom
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>>>>>>>>>>>>>>>>>>>>>»       Original Message
>>>>>>>>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>>>>>>>>>> [mailto:services@integritysettle
>>>>>>>>>>>>>>>>>>>>>>> me nt se ry is es .n et]Sent:
>>>>>>>>>>>>>>>>>>>>>» wednesday,
>>>>>>>>>>>>>>>>>>>>>» January 3,
>>>>>>>>>>>>>>>>>>>>>» 2018
>>>>>>>>>>>>>>>>>>>»» 1134
>>>>>>>>>>>>>>>>>>>>>» AM
>>>>>>>>>>>>>>>>>>>>>» To: Ross Coll
>>>>>>>>>>>>>>>>>>>>>>> <rcoll@limaonecapitaLcom>
>>>>>>>>>>>>>>>>>>>>>>> Subject: RE:[External] Re:
>>>>>>>>>>>>>>>>>>>>>>> Transactional
>>>>>>>>>>>>>>>>>>>>>» Funding
>>>>>>>>>>>>>>>>>>>>>» -
>>>>>>>>>>>>>>>>>>>»» 1564
>>>>>>>>>>>>>>>>>>>>>» Park
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>>>>>>>>>>>>>>>>>>>>>>> Please see attached and let me
>>>>>>>>>>>>>>>>>>>>>>> know if this is correct. Also do
>>>>>>>>>>>>>>>>>>>>>>> you have the broker invoice?
>>>>>>>>>>>>>>>>>>>>>» --
>>>>>>>>>>>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>>>>>>>>>>» Client
>>>>>>>>>>>>>>>>>>>>>» Services
>>>>>>>>>>>>>>>>>>>»»
>>>>>>>>>>>>>>>>>>>>>>> Management Department
>>>>>>>>>>>>>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>>>>>>>>>>>>» Fax: 877-471-2805
>>>>>>>>>>>>>>>>>>>>>>> Integrity Settlement Services
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>>>>>>>>>>>>>>>>>>>>>>> CONFIDENTIALITY           NOTICE:
>>>>>>>>>>>>>>>>>>>>>>> The contents of this email
>>>>>>>>>>>>>>>>>>>>>>> message and any attachments are
>>>>>>>>>>>>>>>>>>>>>>> intended solely for the
>>>>>>>>>>>>>>>>>>>>>>> addressee(s) and may contain
>>>>>>>>>>>>>>>>>>>>>>> confidential and/or privileged
>>>>>>>>>>>>>>>>>>>>>>> information and may be legally
>>>>>>>>>>>>>>>>>>>>>>> protected from disclosure. If
>>>>>>>>>>>>>>>>>>>>>>> you are not the intended
>>>>>>>>>>>>>>>>>>>>>>> recipient of this message or
>>>>>>>>>>>>>>>>>>>>>>> their agent, or if this message
>>>>>>>>>>>>>>>>>>>>>>> has been addressed to you in
>>>>>>>>>>>>>>>>>>>>>>> error, please immediately alert
>>>>>>>>>>>>>>>>>>>>>>> the sender by reply email and
>>>>>>>>>>>>>>>>>>>>>>> then delete this message and any
>>>>>>>>>>>>>>>>>>>>>>> attachments. If you are not the
>>>>>>>>>>>>>>>>>>>>>>> intended recipient, you are
>>>>>>>>>>>>>>>>>>>>>>> hereby notified that any use,
>>>>>>>>>>>>>>>>>>>>>>> dissemination, copying, or
>>>>>>>>>>>>>>>>>>>>>>> storage of this message or its
>>>>>>>>>>>>>>>>>>>>>>> attachments is strictly
>>>>>>>>>>>>>>>>>>>>>>> prohibited.
>>>>>>>>>>>>>>>>>>>>>>>
>>>>>>>>>>>>>>>>>>>>>>> On Wed,January 3,2018 10:10
>>>>>>>>>>>>>>>>>>>>>» am,Ross
>>>>>>>>>>>>>>>>>>>»» Coll
>>>>>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>>>>>» Good morning Amy,
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>>>>>>>>>>>>>>>>>>>>>>» E-mail:
>>>>>>>>>>>>>>>>>>>>>>>> rcoll@limaonecapitalcom
>>>>>>>>>>>>>>>>>>>>>>>> www.LimaOneCapital.cout
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>>>>>>>>>>>>>>>>>>>>>>»      Original Message
>>>>>>>>>>>>>>>>>>>>>>>> From: Client Services
>>>>>>>>>>>>>>>>>>>>>>» [manto:services@integritysett
>>>>>>>>>>>>>>>>>>>>>>>> le me nt se ry ic es .n et]
>>>>>>>>>>>>>>>>>>>>>>» Sent:
>>>>>>>>>>>>>>>>>>>>>>» Wednesday,
>>>>>>>>>>>>>>>>>>>>>>» January 3,
>>>>>>>>>>>>>>>>>>>>»» 2018
>>>>>>>>>>>>>>>>>>>>>>» 10:09
>>>>>>>>>>>>>>>>>>>>>>» AM
>>>>>>>>>>>>>>>>>>>>>>» To:Ross Con
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>>>>>>>>>>>>>>>>>>>>>>» Cc:
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>>>>>>>>>>>>>>>>>>>>>>» [External]
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>>>>>>>>>>>>>>>>>>>>>>>> day.
>>>>>>>>>>>>>>>>>>>>>>>>
>>>>>>>>>>>>>>>>>>>>>>>> Amy Rice
>>>>>>>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>>>>>>>>>>>>>>> Fax: 877-471-2805
>>>>>>>>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>>>>>>>>> Services@integirtysettlementse
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>>>>>>>>>>>>>>>>>>>>>>» CONFIDENTIALITY NOTICE:
>>>>>>>>>>>>>>>>>>>>>>>> The contents of this email
>>>>>>>>>>>>>>>>>>>>>>>> message and any attachments
>>>>>>>>>>>>>>>>>>>>>>>> are intended solely for the
>>>>>>>>>>>>>>>>>>>>>>>> addressee(s) and may contain
>>>>>>>>>>>>>>>>>>>>>>>> confidential and/or
>>>>>>>>>>>>>>>>>>>>>>>> privileged information and may
>>>>>>>>>>>>>>>>>>>>>>>> be legally protected from
>>>>>>>>>>>>>>>>>>>>>>>> disclosure. If you are not the
>>>>>>>>>>>>>>>>>>>>>>>> intended recipient of this
>>>>>>>>>>>>>>>>>>>>>>>> message or their agent, or if
>>>>>>>>>>>>>>>>>>>>>>>> this message has been
>>>>>>>>>>>>>>>>>>>>>>>> addressed to you in error,
>>>>>>>>>>>>>>>>>>>>>>>> please immediately alert the
>>>>>>>>>>>>>>>>>>>>>>>> sender by reply email and then
>>>>>>>>>>>>>>>>>>>>>>>> delete this message and any
>>>>>>>>>>>>>>>>>>>>>>>> attachments. If you are not
>>>>>>>>>>>>>>>>>>>>>>>> the intended recipient, you
>>>>>>>>>>>>>>>>>>>>>>>> are hereby notified that any
>>>>>>>>>>>>>>>>>>>>>>>> use, dissemination, copying,
>>>>>>>>>>>>>>>>>>>>>>>> or storage of this message or
>>>>>>>>>>>>>>>>>>>>>>>> its attachments is strictly
>>>>>>>>>>>>>>>>>>>>>>» prohibited.
>>>>>>>>>>>>>>>>>>>>>>»
>>>>»>>>>>>>>>>>>>>>>>> On Tue,January 2,2018 4:52
>>>>>>>>>>>>>>>>>>>>>>» pm,Ross con
>>>>>>>>>>>>>>>>>>>>>>» wrote:
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>>>>>>>>>>>>>>>>>>>>>>>» Good afternoon,
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>>>>>>>>>>>>>>>>>>>>>>>>> We are the lender for the
>>>>>>>>>>>>>>>>>>>>>»» A-B
>>>>>>>>>>>>>>>>>>>>>>>» financing of 1564 Park Road
>>>>>>>>>>>>>>>>>>>>>>>» Southeast,
>>>>>>>>>>>>>>>>>>>>>>>>> Atlanta, GA 30315. We
>>>>>>>>>>>>>>>>>>>>>>>>> received the A-B HUD and B-C
>>>>>>>>>>>>>>>>>>>>>>>» HUD,
>>>>>>>>>>>>>>>>>>>>>>>>> but require a few changes:
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 >>>>>>>>>>>>>>>>>>>>>>>>> * The current amount due
                                                                              Exhibit C - 63
                  Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 129 of 135
>>>>>>>>>>>>>>>>>>>>>>>>> from the borrower is
>>>>>>>>>>>>>>>>>>>>>>>» $247,719.00,
>>>>>>>>>>>>>>>>>>>>>>>>> please adjust line 303. to
>>>>>>>>>>>>>>>>>>>>>»» $0
>>>>>>>>>>>>>>>>>>>>>>>>> as we will be providing the
>>>>>>>>>>>>>>>>>>>>>>>>> fmancing for this
>>>>>>>>>>>>>>>>>>>>>>>>> transaction in the amount
>>>>>>>>>>>>>>>>>>>>>»» of $247,719.
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>>>>>>>>>>>>>>>>>>>>>»» B-C HUD:
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>>>>>>>>>>>>>>>>>>>>>>>»
>>>>>>>>>>>>>>>>>>>>>>>>> * Please add a mortgage
>>>>>>>>>>>>>>>>>>>>>>>>> payoff to Lima One Capital,
>>>>>>>>>>>>>>>>>>>>>»» LLC
>>>>>>>>>>>>>>>>>>>>>>>>> in the amount of$247,719.00
>>>>>>>>>>>>>>>>>>>>>»» *
>>>>>>>>>>>>>>>>>>>>>>>» 1.0175
>>>>>>>>>>>>>>>>>>>>>>>» =
>>>>>>>>>>>>>>>>>>>>>»» $252,054.08
>>>>>>>>>>>>>>>>>>>>>>>» * Please
>>>>>>>>>>>>>>>>>>>>>>>>> add the Broker fee (Once I
>>>>>>>>>>>>>>>>>>>>>>>>> receive the Broker's
>>>>>>>>>>>>>>>>>>>>>>>» invoice I
>>>>>>>>>>>>>>>>>>>>>>>>> will send that over)
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>>>>>>>>>>>>>>>>>>>>>>>>> Please confirm that the
>>>>>>>>>>>>>>>>>>>>>>>>> transaction is taking place
>>>>>>>>>>>>>>>>>>>>>>>>> on the same day in the same
>>>>>>>>>>>>>>>>>>>>>>>» office.
>>>>>>>>>>>>>>>>>>>>>>>»

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                  Case 1:18-cv-04070-SDG Document 30 Filed 02/07/19 Page 130 of 135
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 >>>>>>>>>>>>>>>>>>>>>>>>> Thank you and let me know
 >>>>>>>>>>>>>>>>>>>>>>>>> if you have any questions.
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>>>>>>>>>>>>>>>>>>>>>»» Ross Coll
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>>>>>>>>>>>>>>>>>>>>>»» 70
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>>>>>>>>>>>>>>>>>>>>>»» 18
>>>>>>>>>>>>>>>>>>>>>»» 0]
>>>>>>>>>>>>>>>>>>>>>»» P:864-672-9069
>>>>>>>>>>>>>>>>>>>>>»» F: 864-289-7520
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>>>>>>>>>>>>>>>>>>>>> Amy Rice
>>>>>>>>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>>>>>>» Integrity Settlement Services
>>>>>>>>>>>>>>>>>>>>> Services@integirtysettlementservices
>>>>>>>>>>>>>>>>>>>» .n
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>>>>>>>>>>>>>>>>>>>>> and any attachments are intended
>>>>>>>>>>>>>>>>>>>>> solely for the addressee(s) and may
>>>>>>>>>>>>>>>>>>>>> contain confidential and/or
>>>>>>>>>>>>>>>>>>>>> privileged information and may be
>>>>>>>>>>>>>>>>>>>» legally protected from disclosure.
>>>>>>>>>>>>>>>>>>>» If you are
>>>>>>>>>>>>>>>>>>>» not the intended recipient of this
>>>>>>>>>>>>>>>>>>>» message or their agent, or if this
>>>>>>>>>>>>>>>>>>>» message has been addressed to you
>>>>>>>>>>>>>>>>>>>» in error, please immediately alert
>>>>>>>>>>>>>>>>>>>» the sender by reply email and then
>>>>>>>>>>>>>>>>>>>» delete this message and any
>>>>>>>>>>>>>>>>>>>» attachments. If you are not the
>>>>>>>>>>>>>>>>>>>» intended recipient, you are hereby
>>>>>>>>>>>>>>>>>>>>> notified that any use,
>>>>>>>>>>>>>>>>>>>» dissemination, copying, or storage
>>>>>>>>>>>>>>>>>>>» of this message or its attachments
>>>>>>>>>>>>>>>>>>>» is strictly prohibited.
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>>>>>>>>>>>>>»» Amy Rice
>>>>>>>>>>>>>>>>> Client Services

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>>>>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>>>>>> Office: 813-606-5058
>>>>>>>>>>>>>>>» Fax:877-471-2805
>>>>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>>>>> Services@integirtysettlementservices.net
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»»»»»»» Amy Rice
>>>>>>>>>>>>>> Client Services
>>>>>>>>>>>>>> File Management Department
>>>>>>>>>>>>» Office: 813-606-5058
>>>>>>>>>>>>>> Fax:877-471-2805
>>>>>>>>>>>>>> Integrity Settlement Services
>>>>>>>>>>>>>> Services@integirtysettlementservices.net
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>>>>>>>>>>>>>> CONFIDENTIALITY NOTICE:
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>>>>>>>>>>>>>> error, please immediately alert the sender by
>>>>>>>>>>>>>> reply email and then delete this message and any
>>>>>>>>>>>>>> attachments. If you are not the intended
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>>>>>>>>>>>>>> dissemination, copying, or storage of this message
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